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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY


     UNITED STATES OF AMERICA,

                                            CRIM. NO. 14-50 (NLH)

     v.                                     OPINION (Filed Under
                                              Temporary Seal)

     MALIK DERRY AND MYKAL DERRY,


          Defendants.


 APPEARANCES:

 WILLIAM E. FITZPATRICK
 ACTING U.S. ATTORNEY

 PATRICK C. ASKIN
 EDMUND MALLQUI-BURGOS
 NORMAN JOEL GROSS
 JUSTIN C DANILEWITZ
 ASSISTANT U.S. ATTORNEYS

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       On behalf of the United States of America

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      On behalf of Defendant Mykal Derry
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 HILLMAN, District Judge

       Pursuant to Federal Rule of Criminal Procedure 37,

 Defendant Malik Derry seeks an indicative ruling from this Court

 that it would grant a motion to vacate his conviction and

 sentence under 18 U.S.C. § 924(c) if the Court of Appeals were

 to remand this case for that purpose.          The Defendant contends

 that the government violated its obligations of disclosure under

 the rule set forth in Brady v. Maryland, 373 U.S. 83, 87 (1963). 1

 The United States requests that we deny the motion. 2             For the


       1The parties disagree as to the proper relief should the
 Court determine a Brady violation occurred. Since we find no
 violation, we need not address the scope of any remedy. Also
 before the Court are motions by co-Defendant Mykal Derry to join
 in Malik Derry’s motion and brief. We will grant those motions.

       2Technically, the Government has asked the Court to issue
 an indicative ruling that it would deny the Defendant’s motion
 rather than simply and directly deny the motion on the merits.
 For the reasons explained by this Court at a July 17, 2017
 hearing, the Court does not believe that the plain text of Rule
 37 allows for the former option. (Tr. of July 17, 2017 Hearing,
 Docket No. 922.) Nor, in this Court’s opinion, does such an
 option make sense in light of the intended purpose of Rule 37.
 Absent Rule 37, the filing of an appeal ordinarily divests the
 district court of jurisdiction during the appeal. However,
 denying a defendant’s post-trial motion for a new trial or
 similar relief simply reiterates from the perspective of the
 district court that the proceedings before that court are over.
 Arguably then, the denial of the motion does not disrupt the
 appellate process and does not prejudice the parties, allowing,
 at worse, the defendant another issue for timely appeal or an
 expansion of the record above. On the other hand, granting a
 defendant’s motion for post-trial relief while a defendant’s
 appeal is pending could moot an appeal, frustrate the orderly
 administration of the appellate process, and waste the time and
 resources of the appellate court. Accordingly, in granting the
 district courts limited jurisdiction to hear post-trial motions

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 reasons set forth below, we will deny the motion to vacate the

 conviction and sentence pursuant to Fed. R. Crim. P. 37(a)(2).

                                        I.

                                INTRODUCTION

       This Rule 37 motion follows the trial and conviction of

 brothers Mykal Derry and Malik Derry, indicted by the Government

 on a multitude of charges related to a heroin trafficking

 conspiracy.     One of the charges, Count Ten, alleged that they

 “did knowingly and intentionally use, carry, possess, brandish

 and discharge a firearm in furtherance of the drug trafficking

 crime.” (Superseding Indictment, Docket No. 194.)

       The evidence introduced at trial to convict Malik Derry of

 Count Ten related primarily, but not exclusively, to one event,

 the shooting and murder of Tyquinn “T.Y.” James.              The

 Government’s theory was that Malik Derry, as an enforcer for the

 Derry Drug Trafficking Organization (“DDTO”), shot and killed

 James, a rival drug dealer, in cold blood, because James dared

 to appear near territory claimed by the DDTO.




 after the filing of an appeal, the drafters of Rule 37 appear to
 have intended that if the motion has merit the district court
 may merely “indicate” an intention to grant rather than
 conveying a power to grant the motion. This leaves to the
 appellate court in each instance – either denying or, in the
 alternative, indicating an intention to grant - the final word
 on what further proceedings below are appropriate.



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       The jury was shown a video of the murder captured by a

 surveillance camera focused on the area in front of the

 storefronts where the shooting occurred.           James, on foot and

 lingering in front of one of the stores, is approached from

 behind by a tall, thin, hooded figure on a bicycle who shoots

 him in the back of the head, execution-style, with a handgun.

 James slumps over lifeless.       The cyclist rides on, appearing to

 take the time to shoot at least one more round at James on the

 ground.

       In addition to the video, the Government’s case was based

 upon evidence including wiretaps of telephone calls and text

 messages between the Derry brothers and others before and after

 the shooting, the recovery of a bicycle and the murder weapon

 from Mykal Derry’s part-time residence, in addition to other

 evidence that the DDTO used violence, including training with

 and using guns, to protect its turf and its members.

       In response to this evidence and the government’s theory

 that Malik Derry shot James in furtherance of the operations of

 the DDTO, Mykal Derry took the witness stand in his own defense

 (and in de facto defense of his brother) and on cross-

 examination offered his confession that he - not his younger

 half-brother Malik - shot James.           Mykal told the jury that he

 shot and killed James in retaliation for shots fired at him on

 an earlier date, arising from a dispute over a woman about whose


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 name he was vague. 3 (Trial Tr. 5559, August 11, 2015, Docket No.

 816) (Cross-examination of Defendant Mykal Derry: “I think her

 name was Tasha.     I don’t –- it was back in 2011.          I ----.”)

       As discussed more fully below, the jury plainly rejected

 Mykal’s confession and, although they were not called upon to

 answer precisely the question of whether Malik Derry shot James,

 they returned a verdict that demonstrated they accepted both the

 Government’s theory that Malik, not Mykal, pulled the trigger




       3 Mykal Derry’s confession is remarkable given the fact
 that both he and his brother were, and as of this date are,
 facing state murder charges for the murder of James, raising the
 specter that his confession under oath would be used against
 him. In some circumstances, federal law and its state analogs
 recognize that confessions may take on an aura of reliability or
 are otherwise admissible. See e.g., Fed. R. Evid. 804(b)(3)
 (creating a hearsay exception for statements against penal
 interests when a declarant is unavailable) and Fed. R. Evid.
 801(d)(2)(categorizing as non-hearsay an admission by a party-
 opponent). The risk to Mykal Derry of a decision to confess is,
 in fact, more nuanced and much more attenuated than might first
 meet the eye. The Government does not believe his confession
 and presumably the state prosecutors will not offer a false
 confession to the murder of James in state court, at least not
 for the truth, when the overwhelming evidence – regardless of
 why James was shot – proves that Malik committed the murder. If
 the jury believed Mykal’s confession, both he and his brother
 would have been acquitted of the 924(c) charge which carried a
 mandatory consecutive sentence of 10 years, would have avoided
 certain sentencing enhancements under the drug conspiracy
 charge, and his brother’s exposure to the state charges might be
 eliminated or diminished. Given the practical limitations of
 the use of his confession in state court, if the jury
 disbelieved the confession the ramifications for future
 proceedings were minimal. In colloquial terms, if false,
 Mykal’s confession was all upside and no downside. As noted
 elsewhere in this Opinion, whatever Mykal Derry’s motives or
 calculus might have been, the jury rejected the confession.

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 and the overwhelming evidence that Malik shot James to protect

 the Mykal Derry-led DDTO and its lucrative heroin sales in the

 Atlantic City housing project they controlled.

       The Defendants argue they should be granted an acquittal or

 other lesser relief on the Count Ten charge because they say the

 Government failed to disclose Brady information they would have

 used to impeach a Government cooperator, Kareem Young, whose

 testimony they argue was the Government’s only evidence linking

 the shooting to the drug trafficking crime.

                                        II.

                             PROCEDURAL HISTORY

 A. Trial and Sentencing

       Malik Derry and Mykal Derry were two of 34 defendants

 charged on March 18, 2013 by criminal complaint with conspiracy

 to distribute heroin. (Complaint, Docket No. 1.)              On March 26,

 2013, Mykal and Malik Derry were arrested. (Arrest Warrant,

 Docket No. 6.)     On February 5, 2014, 15 alleged co-conspirators

 were indicted together (Indictment, Docket No. 45) and

 subsequently arraigned. 4      The matter was designated as a complex

 case 5 and after a series of guilty pleas, two trials of the


       4Most, if not all, of the other defendants named in the
 original complaint either pled guilty to informations filed
 pursuant to plea agreements or were indicted in separate cases.

       5The Government summarized the complexity of the case in a
 March 11, 2014 motion: “Two judges - including this Court - have

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 remaining defendants were held.        Five defendants were tried

 together before the late Senior United States District Judge

 Joseph E. Irenas.       Beginning on July 7, 2015, the last of the

 defendants, Mykal Derry and Malik Derry, proceeded to trial

 before the undersigned.       On August 18, 2015, the jury convicted

 Malik Derry on all counts of the Superseding Indictment (Docket

 No. 194), except one, and Mykal Derry on all counts, except one.

 (Verdict Sheet, Docket No. 827.)

       More specifically, the jury convicted Mykal and Malik Derry

 both of: (1) conspiring to distribute one or more kilograms of

 heroin; (2) using, carrying, or possessing a firearm during and

 in furtherance of that conspiracy; and (3) discharging a firearm

 in furtherance of that conspiracy.         In addition, the jury

 convicted Mykal Derry of 41 counts of using a telephone in

 furtherance of a drug-trafficking crime and in eight of those

 counts convicted Malik Derry of the same charge. (Id.)              The jury



 now concluded this case is complex. The reasons for these
 independent conclusions are not disputed: this case involves a
 long-running and violent drug conspiracy including close to
 three dozen co-conspirators; it involves voluminous evidence,
 including thousands of hours of wiretap intercepts of 7 cellular
 telephones recorded over a 6-month period [], as well as text
 messages, surveillance photographs and video recordings, law
 enforcement recordings, search warrant evidence; and by the time
 of trial; will also include the Government’s use of numerous law
 enforcement witnesses, cooperator testimony, expert testimony,
 and the introduction of firearms drug laboratory and other
 physical evidence.” (Memorandum in Support of United States
 Motion for Complex Case Designation and Continuation of Time
 under the Speedy Trial Act, Docket No. 104-1 at 2.)

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 also convicted Mykal Derry separately of distributing smaller

 amounts of heroin and operating a stash house. (Id.)

       In an example of the jury’s discerning nature and attention

 to detail, it acquitted Mykal Derry of distributing, or

 possessing with intent to distribute, a distributable amount of

 heroin on October 18, 2012 in Count 5 but convicted him of

 aiding and abetting the same distribution.              The jury’s attention

 to the evidence in the case is also apparent in its decision to

 convict Mykal Derry of brandishing a firearm in furtherance of

 the drug conspiracy but acquitting Malik Derry of the same

 charge.    We discuss the apparent ramifications of that detailed

 verdict as it relates to the alleged Brady violations below.

       On January 7, 2016, this Court sentenced Mykal Derry to a

 total term of life imprisonment plus a consecutive prison term

 of 120 months, and twenty years of supervised release. (Mykal

 Derry Sentencing Judgment, Docket No. 848.)             On August 19, 2016,

 this Court sentenced Malik Derry to “life imprisonment plus a

 consecutive prison term of 120 months, and ten years of

 supervised release.” (Malik Derry Sentencing Judgment, Docket

 No. 885.)

 B. Initial Brady Issue: The Brown I FD 302

        Following the jury verdict, but prior to sentencing, Malik

 Derry wrote a letter to this Court describing a communication he




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 had with Jodi Brown, a co-conspirator. 6          In that letter,

 Defendant stated that after the trial had ended, Brown, an

 admitted member of the DDTO, had “mentioned that she made

 statements concerning the [murder of James] which implies guilt

 but with an alternative version that the Government alleges in

 the indictment.”        In the letter, Malik Derry also wrote that he

 had been frustrated in his efforts to get the Brown interview

 materials and suggested the possibility of an in camera

 inspection.     On May 23, 2016, this Court conveyed to counsel for

 the Derrys and the Government a copy of that undated letter

 assuming the statements referred to were statements made to law

 enforcement.

       Brown’s October 28, 2014 FBI interview, following standard

 procedure, was documented on a Form FD 302 (“302” or “FD 302”).

 (“Brown I 302,” Docket No. 903-3.)          This Court determined that

 while the Government had intended to send the Brown I 302 to the

 defense during trial, it inadvertently had not. (Tr. of August

 19, 2016 Hearing (“August Hearing”), Docket No. 893 at 17-18.)

 Instead, in the midst of trial, and prior to the close of the

 defense case, one of the prosecutors sent an email dated July

 26, 2015, at 4:31 p.m. (Docket No. 873-4) conveying a summary of




       6At times, Brown’s first name is spelled “Jodie.” (United
 States v. Jodie Brown, Crim. No. 14-162 (D.N.J.).)

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  the prosecutor’s notes from the interview. (Tr. of June 17, 2016

  Hearing (“June Hearing”), Docket No. 878 at 28, 32-33.)

        In the post-trial June 2016 Hearing, Malik Derry argued the

  Government’s failure to disclose the actual 302 constituted a

  Brady violation.       At that hearing, the Court denied the Brady

  motion in part, holding that the email summary provided timely

  disclosure of Brown’s statement that she lacked any knowledge of

  the reason Tyquinn James was murdered and was disclosed in a

  manner that allowed that information to be utilized by the

  defense, if they had chosen, at trial. (Docket No. 878 at 45.)

  Malik Derry moved for an Order granting a Judgment of Acquittal

  pursuant to a Brady violation. (Defendant’s Brady Motion, Docket

  No. 873.)

        In an August 19, 2016 oral opinion, this Court denied the

  Brady motion in full, concluding: “To the extent that there was

  anything in the 302 that was material, that was exculpatory and

  material, it was not suppressed, it was disclosed [by virtue of

  the email summary].       To the extent that any additional materials

  in the 302 were not disclosed, they were neither exculpatory nor

  ultimately material in this matter.” (Docket No. 893 at 19.)

  The Court then proceeded to sentencing. (Minute Entry, Docket

  No. 884.)




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  C. Subsequent Brady Issues

        In September 2016, when preparing for the sentencing of a

  co-conspirator, Ambrin Qureshi, the Government discovered an FBI

  Form FD 302 summarizing an FBI interview with Qureshi (“Qureshi

  I 302,” Docket No. 903-2) in which, like Brown, Qureshi denied

  having any knowledge as to why Tyquinn James was murdered.                On

  November 14, 2016, the Qureshi 302 was disclosed to Defense

  counsel. (Letter Supplemental Brief of Defendant, Motion for

  Indicative Ruling, Docket No. 911 at 3-4.)             The Government also

  provided a copy of a 302 of a post-trial September 2016

  interview of Qureshi (“Qureshi II 302”). (Docket No. 903-1.)

        Both Defendants appealed their convictions and the cases

  were consolidated by the Court of Appeals.             On December 7, 2016,

  Malik Derry filed a motion in the Court of Appeals, asking to

  include the Qureshi I and II 302s in the record.             By Order of

  December 13, 2016, following the motion of Malik Derry, the

  Court of Appeals stayed the briefing and resolution of Derry’s

  motion to expand the record pending an indicative ruling by this

  Court. 7   In its Rule 37 motion, Defendant requested that this

  Court consider the “newly discovered” evidence, the Qureshi

  302s, in the context of Defendant’s prior Brady motion involving




        7On December 27, 2016, the Court of Appeals granted Mykal
  Derry’s motion to join Malik Derry’s stay motion.



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  Brown. (Defendant’s Motion for an Indicative Ruling, Docket No.

  903 at 14.)

        After the Rule 37 motion was filed, the Government reviewed

  all of the 302s of the other co-conspirators who proffered

  information to the Government.        “In an abundance of caution, and

  not because the Government believed it was obliged to do so,”

  the Government disclosed two additional 302s regarding

  interviews of Franklin Simms (“Simms 302”) and Laquay Spence

  (“Spence 302”). 8

        In his supplemental briefs in support of his Rule 37

  motion, Defendant asks the Court to find Brady violations as to

  the Brown, Qureshi, and Spence 302s. 9 (Letter Supplemental Brief


        8Because the Government was concerned about the “threats
  against and intimidation of witnesses that have occurred in the
  case,” the 302s were to be turned over once the parties
  finalized an “attorneys eyes only” agreement. On December 30,
  2016, the Government turned over the November 2013 pretrial
  interview of Laquay Spence and the March 2016 post-trial
  interview of Franklin Simms. (Docket No. 911-3 (Spence) and 911-
  4(Simms).) Because of the confidential manner in which the full
  302s were disclosed to the defense, and because this Opinion
  references or quotes such 302s in part, the Court will initially
  order this Opinion sealed for a period of ten days in an
  exercise of caution. If no application for redaction is made
  within those ten days, the full Opinion will be filed on the
  docket. While not absolute, a strong presumption of openness
  and public disclosure applies in judicial proceedings especially
  criminal matters. Press-Enterprise Co. v. Superior Court of
  California, Riverside County, 478 U.S. 1 (1986). The parties
  may jointly move to unseal the full opinion at any time before
  the ten day period expires.

        9Defendant concedes that the Simms 302 does not contain
  Brady material. (Docket No. 911 at 4 n.1.)

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  of Defendant, Motion for Indicative Ruling, Docket No. 911 and

  Letter Reply Brief of Defendant, Motion for Indicative Ruling,

  Docket No. 914.)       Malik Derry argues he is entitled to an

  “acquittal of his convictions” (Docket No. 911 at 1) or in later

  briefing, “complete judgment of acquittal, a judgment of

  acquittal on the 924(c) count or a new trial pursuant to Fed. R.

  Crim. P. 33[]” (Docket No. 914 at 20).

        The Government argues the three 302s at issue are not Brady

  material and therefore Defendant is entitled neither to an

  acquittal nor a new trial. (Gov. Response to Defendant’s Motion

  for an Indicative Ruling, “Response Brief,” Docket No. 913 at

  55.) 10    At the July 17, 2017 hearing on the pending motions, the

  United States asked the Court to deny the Defendant’s motion in

  full. (Tr. of July 17, 2017 Hearing, Docket No. 922.)

                                         III.

                                  JURISDICTION

        Rule 37 of the Federal Rules of Criminal Procedure states:

        (a) Relief Pending Appeal.

        If a timely motion is made for relief that the court
        lacks authority to grant because of an appeal that has
        been docketed and is pending, the court may: (1) defer


        10
         Malik Derry’s convictions for conspiring to distribute
  heroin and on the so-called “phone counts” are not the subject
  of this motion. Rather, the Rule 37 motion concerns only his
  conviction on Count Ten of the Superseding Indictment which
  charged a violation of 18 U.S.C. § 924(c).



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        considering the motion; (2) deny the motion; or (3)
        state either that it would grant the motion if the
        court of appeals remands for that purpose or that the
        motion raises a substantial issue.

                                        IV.

                            THE EVIDENCE AT TRIAL

        The Federal Bureau of Investigation opened a criminal

  investigation in approximately October 2010 focusing on violence

  and heroin trafficking in the Stanley Holmes Village public

  housing development in Atlantic City, New Jersey.              Based upon

  their investigation, the United States concluded that a drug

  organization, which the Government called the DDTO, had a fierce

  grip on Stanley Holmes Village and the nearby area, flooding the

  neighborhood with heroin and using violence to maintain

  exclusive control over its territory.          The indictments,

  prosecution, and trial described above followed.

        At the heart of Malik Derry’s motion is the argument that

  the undisclosed 302s would have been of assistance to him at

  trial in undermining the Government’s theory that James was

  killed in furtherance of the DDTO drug conspiracy.              To put that

  argument in context, it would be helpful to summarize the

  evidence produced at trial regarding the DDTO and the Derry

  brothers’ involvement in the overall conspiracy.




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  A. The DDTO Was a Violent Drug Trafficking Conspiracy

        The evidence at trial showed that the DDTO was a violent

  drug organization. 11    Malik Derry was one of approximately two

  dozen members of this gang, although any number of different

  people came in and out of the conspiracy over time.             They

  referred to themselves as “Dirty Block” or “Crime Fam” and by

  other names and most lived in and around Stanley Holmes Village.

  They distributed a large amount of heroin sourced largely from




        11
         Malik Derry does not appear to contest the violent nature
  of the DDTO. As set forth below, he chronicles in his own
  submissions to the Court the DDTO’s acts of violence to show
  that much of it occurred while he was in prison:

        1. October 30, 2010. 1000 Brigatine Blvd. Anthony Rosario
        assault. 2. April 17, 2011. South Florida Ave. Anthony
        Rosario shot by Kevin Washington. Stipulation J-6 Bailey
        not in Atlantic City at this time and Stipulation J-4
        Bailey not involved in this shooting. 3. July 13, 2011.
        1514 Wabash Place. [Sedrick] Lindo shot. Case 1:14-cr-
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        PageID: 32149 4. September 13, 2011. 300 N. New York Ave.
        Shooting at house (Tyquinn James inside). 5. November 19,
        2011. Disston Apartments. Shameel [sic] Spencer shot Kevin
        Green. 6. December 13, 2011. 436 N. Virginia Ave. Shooting
        at house. 7. August 21, 2012. 3900 Ventnor Ave. Shamed
        Spencer shot. 8. August 21, 2012. 4306 N. Drive. Michael
        Hamilton shot. 9. October 13, 2012. Pennsylvania and
        Caspian Avenues. Back Maryland shooting. 10. December 24,
        2012. Tropicana incident. 11. February 10, 2013. Tyquinn
        James homicide.

  (Malik Derry Motion for Judgment of Acquittal or a New Trial,
  Docket No. 833-1 at 8-9.) (The Court has condensed the original
  list of events into paragraph form.)



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  Paterson, New Jersey over a period of years.              In addition, they

  were involved in distribution of other types of drugs.

        The wiretap evidence alone established that it was an

  organization of persons who used intimidation, fear, and

  violence to maintain exclusive control over their territory and

  to control the activities of their potential rivals.               They used

  weapons to protect themselves, their turf, their drugs, their

  stash houses and their customers from their drug rivals.

        Guns and violence were an integral part of the drug

  trafficking.    Guns were used, stored, and shared by the persons

  in this conspiracy.        When guns were needed or wanted, whether

  for an unfolding brawl discussed below, or when they were moving

  as a group or engaged in a risky transaction, they were able to

  retrieve or request them from stored locations known and

  available to others in the gang.             Guns were bought and shared as

  the need arose.        So, not only were guns used, but they were used

  collectively, which is evidence that the guns were a part of the

  conspiracy and used by the co-conspirators freely and for the

  intended purpose.

  B. Eight Shootings and Other Violence

        The Government described at least eight drug-related

  shootings the evidence tied to “Derry and his violent drug

  gang.” (Gov. Statement at Mykal Derry Sentencing Hearing,

  Hearing Tr., Jan. 7, 2016, Docket No. 854 at 88.)               Beyond the


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  torturous assault of Anthony Rosario, who had the audacity to

  sell heroin within Derry territory sourced from a dealer other

  than Mykal Derry, the specific instances of violence involving

  the DDTO included but were not limited to: (1) shootings with

  rival drug groups including the Trevin Allen gang; (2) the

  shooting of Anthony Rosario resulting in his paralysis; (3) the

  brawl at a casino; (4) the killing of Derreck Mack by the police

  after he fled, armed, from a DDTO stash house; and (5) three

  shootings at James, the final one fatal.

    1. Territorial Rivalry Between the Derry and Allen Groups

        At one point in time, the Mykal Derry gang and the Trevin

  Allen gang both sold heroin in Stanley Holmes Village.

  Something happened to that relationship and as a result, Allen

  and his followers became the enemies of the DDTO and were

  banned, under penalty of death essentially, from selling drugs

  in Stanley Holmes Village and from even entering the Derry

  territory.    Both groups began to shoot at each other.            This

  bitter feud between rival drug gangs forms the backdrop of the

  story relevant to this motion, that Malik Derry shot Tyquinn

  James, a member of the Allen gang.

    2. Anthony Rosario Shot and Paralyzed

        Kareem Young, a Government cooperator, testified that

  Anthony Rosario was kidnapped and brutally assaulted by Mykal

  Derry and others because he was selling heroin bought from


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  someone other than Mykal Derry. (Direct Examination of Kareem

  Young, Trial Tr. 4044-53, July 30, 2015, Docket No. 787.)               Young

  testified that Rosario gave a statement to authorities

  implicating Mykal Derry. 12 (Id. at 4051-52.)          According to Young,

  in retaliation Mykal Derry then ordered the shooting of Rosario

  which was carried out by Kevin “King Jaffee” Washington, who

  shot and paralyzed Rosario. (Id.)

    3. The Tropicana Incident

        On the night of December 23 and in the morning of December

  24, 2012, there was a protracted brawl between associates of the

  DDTO and other Atlantic City drug dealers at the Tropicana

  Hotel.     It was captured on surveillance video.         The brawl was

  additional evidence that associates of the DDTO engaged in

  violence against rival drug dealers.

        After the Tropicana incident, in a wiretapped phone call,

  Mykal Derry directed his enforcers, Kamal Allen, Kasan Hayes and

  Shaamel “Buck” Spencer to obtain and carry guns, especially in




        12
         On October 25, 2011, Mykal Derry, along with Trevin Allen
  and Quaran Brown, pled guilty to aggravated assault in New
  Jersey Superior Court for the earlier brutal attack on Rosario.
  Derry was sentenced to 364 days in state custody. (Stipulation
  10, Docket No. 803.)



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  relation to Yachor Napper and his associates, who were drug

  trafficking rivals. 13

    4. The Derreck Mack Shooting Outside of a DDTO Trap House

        Derreck Mack, a teenage boy who was standing guard outside

  a DDTO trap house, was soon thereafter shot and killed by the

  police when he refused to drop his gun.            At Mykal Derry’s

  sentencing, the Government summarized this evidence including

  Mykal Derry’s wiretapped conversation:

        Derreck Mack, when he was killed by the police after
        he refused to drop a .45 caliber semiautomatic handgun
        while he was running down the street on December the
        17th, 2012, when his body was at the medical examiner
        or the morgue or whatever, No Limit heroin falls out
        of his pants. Two or three days earlier Mykal Derry
        is acquiring No Limit heroin from the suppliers in
        Paterson. And he had a loaded .45 caliber handgun on
        him that Mykal Derry and Kamal Allen and others
        discussed that, oh, yeah, he was strapped and he was
        talking crazy stuff like he was going to shoot it out
        with the police. He tells several people that,
        knowing that Derreck Mack - and he's standing on
        videotape outside with Terry Davis, another enforcer,
        and with Derreck Mack. They're not standing out there
        on - in December for their health. They're standing
        out there because they're enforcers guarding his trap
        house.

  (Docket No. 854 at 12-13.)

  C. Evidence that Malik Derry was an Enforcer

         Mykal Derry had determined his brother would be one of the

  DDTO enforcers.        On October 8, 2012, according to an intercepted


        13
         An urgent but impromptu call for the retrieval of guns
  for use by members of the DDTO the night of the Tropicana
  incident was unsuccessful.

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  phone call, Mykal Derry told Kareem Bailey, another DDTO

  enforcer, that his brother Malik would be “strapped” (street

  slang for armed) when Mykal put Malik on the DDTO payroll to

  sell heroin, which would occur when Malik was released from

  prison. (Gov. Exhibit 424) (See Direct Testimony of Special

  Agent Christopher Kopp, Trial Tr. 1047-50, July 8, 2015, Docket

  No. 752 (discussing the Exhibit).)

        Several weeks later, after leaving prison, Malik Derry was

  reportedly involved in a dispute with one of the Derry

  associates, Saleem “Meatball” Reynolds.          According to a

  wiretapped call, on October 23, 2012, Malik asked Mykal for a

  gun as he was angry with Reynolds.         Another recorded call to

  Mykal Derry followed, this one from Jermaine Reynolds, the

  concerned brother of Saleem Reynolds.         Mykal Derry reassured

  Reynolds and said “ratchets” (street slang for guns) would only

  be used on the “enemy” not on persons from Stanley Holmes

  Village.

        The Government summarized the wiretapped evidence as

  follows:

        Two weeks later, on October 23, 2012, after he was
        back on the streets, Malik asked Mykal for “one of
        them things,” (a gun), and claimed “I need it.” GX477,
        Tr. 1276-77. Malik told Mykal that he was at the
        “Schoolhouse” public housing complex, and told Mykal
        “Just bring it.” Tr. 1277.

        Twenty-five minutes later, another DDTO associate,
        Jermaine “Bam” Reynolds, complained to Mykal that


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        Malik was threatening Reynolds’ “brodies” (friends).
        GX478; Tr. 1293-94, 1296-98. According to Reynolds,
        Malik was “threatenin’ n*ggers [daring them to] come
        out, and he ain’t fightin’, he’s talkin’ about gun
        work.” Tr. 12989[sic]-99. Reynolds claimed that Malik
        was “buggin’” (crazy). Tr. 1298.

        Mykal assured Reynolds that he only distributed
        “ratchets” (guns) for use against “the enemy” (rival
        drug dealers), not people from “the (Stanley Holmes)
        village.” Tr. 1298-99. Mykal assured Reynold that if
        he caught Malik using firearms against non enemies,
        “I’m f*ckin’ him up, man, it’s like that.” Tr. 1299.

  (Response Brief, Docket No. 913 at 32-33.)

        Thus, according to the intercepted call, enforcers were not

  to use the “ratchets” on persons from Stanley Homes Village, but

  rather only on the “enemy” which this Court understood from the

  evidence to mean the guns were only to be used on rival drug

  gangs.

        Further wiretap evidence that Malik Derry was an enforcer

  included telephone calls and text messages between Kimberly

  Spellman and Mykal Derry soon after the murder of Tyquinn James.

  In those communications between Spellman and Mykal, Spellman

  said Malik Derry did not need to go on an anticipated trip to

  the shooting range to sharpen his skills.              According to the

  communication, Mykal Derry agreed and laughed.

        The use of the guns at the shooting range, in light of the

  conversations that occurred after the shooting of Tyquinn James,

  suggests to this Court that those shooting range visits were

  intended for enforcers to practice for the purposes of being


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  adept, comfortable, and experienced in using those weapons to

  protect their drug trafficking operations.             These calls and text

  messages are evidence that Malik Derry was one of the enforcers

  and was expected to practice, along with the other enforcers, at

  the shooting range.

        Moreover, we think it telling that Shaamel Spencer, who the

  evidence established was the main enforcer for the DDTO, and who

  was involved in the first two attempts to kill James, was the

  first person that Mykal Derry called after Malik Derry shot

  James.     Mykal tells Spencer without any elaboration or

  explanation necessary, and with chilling coldness, that his

  brother had just killed James, a task Spencer had attempted

  twice.

        Thus, the evidence at trial proved that Malik Derry was

  envisioned to be and became an enforcer.          He was to be

  “strapped” upon return from prison.         He sought a weapon to

  escalate a dispute with someone who was an associate and was

  told those weapons are just for the enemy.             However, he was

  given a weapon when shooting someone was within the scope and

  responsibility of being an enforcer. 14


        14
         Malik Derry challenges the conclusion that he was an
  enforcer noting the limited evidence of his actual possession of
  a weapon. (Docket No. 914 at 10-13.) He notes that in the
  “Meatball incident” he is asking his brother for a gun.
  Defendant argues that if he were an enforcer and strapped the
  first day home from prison, he would not need to ask for a gun.

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  D. The Evidence that Malik Derry Murdered Tyquinn James

    1.    Mykal versus Malik as the Shooter

         As we noted supra, Mykal Derry took the stand at trial and

  testified that he shot James after a dispute concerning the

  affections of a woman.      All the other evidence in the case

  established, however, and without meaningful doubt, that Malik,

  not Mykal, was the shooter.      We agree with the Government’s

  summary of that evidence:

         The wiretap calls and text messages both before and
         after the shooting of James, the surveillance video
         showing an individual on a bicycle matching Malik
         Derry’s height and physique, but inconsistent with
         Mykal Derry’s shorter and stockier stature, and the
         physical evidence recovered, including the murder
         weapon and the bike used by the shooter, unequivocally
         establish that Malik Derry shot and killed James, and
         that Mykal Derry ordered the killing. That evidence
         also showed that Mykal Derry provided the murder
         weapon to Malik Derry before the shooting and stored
         the murder weapon in his residence at 727 Green Street
         (that he shared with his girlfriend Kimberly Spellman)
         after the killing. See PSR, paragraphs 171-188,
         Government Exhibits 703a, 706a, 707a, 710a, 715a, 721,
         5018a, 7009 (search photographs of 307 MLK Boulevard),
         7008 (search photographs of 727 Green Street), and the



  However, this ignores the common method in which guns were used
  by the DDTO. Trial testimony established that DDTO associates
  did not always carry guns as that invited police interaction.
  Rather, guns were routinely stored in stash houses and available
  on an as-needed basis. A jailhouse recorded call illustrates
  this point. Mykal Derry reportedly declined to attend a truce
  meeting with James who was being shot at by Derry associates.
  Derry said he had a gun and did not want to go to the restaurant
  which was frequented by police. (Atlantic City Jail Call between
  Mykal Derry and Christian Blackman, Gov. Exhibit 5004) (See
  Direct Examination of Special Agent Christopher Kopp, Trial Tr.
  at 882, July 8, 2015, Docket No. 752 (discussing the call).)

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        Trial Testimony of Kareem Young, Special Agent
        Christopher Kopp, and Special Agent David McNamara.

  (Letter Brief, United States Response to Brady Motion, Docket

  No. 880 at 11-12 (footnote and italics omitted).)

        The Government also accurately summarized incriminating

  telephone calls and text messages that establish that Malik

  Derry was the shooter: “Less than thirty minutes after the

  murder, Mykal called perhaps his most trusted lieutenant in the

  DDTO, Shaamel Spencer, and told him that “Lik just splashed

  T.Y., you heard? . . . Yeah, that n*gga’s gone.” (Docket No. 913

  at 29 (quoting Gov. Exhibit 707).)         And further:

        A few hours after the murder, Mykal and Kim Spellman,
        another of Mykal’s trusted confidants, exchanged text
        messages. GX721; Tr. 2161. After Spellman texted
        “first homicide of da year, head shot,” id., Mykal
        replied “he gud, he acting like its nothn ctfa
        (“cracking the f*ck up”), GX721; Tr. 2161-62. Mykal
        then stated, “this n*gga iz a tru derry.” Tr. 2162.
        Mykal’s reference to a third person (“he”) who was a
        “tru derry” and was “acting like its nothn” ineffably
        points the finger at Malik as the shooter.

        The following day, Spellman told Mykal in a series of
        text messages and telephone calls that, unlike other
        DDTO associates, Malik did not need to go to the
        shooting range to sharpen his skills. Derry agreed and
        laughed. GX721, GX722; Tr. 2161-66. That exchange
        meant that Mykal must have told Spellman that Malik
        had proven himself to be an accomplished marksman and
        “a true Derry,” Tr. 5595, having shot James in the
        head while riding a bicycle, just as the security
        video showed.

  (Docket No. 913 at 30-31.)




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        In one telephone call, Malik expressed his concern that the

  discovery of the murder weapon in Mykal Derry’s apartment would

  lead to his conviction and lengthy incarceration:

        [There was] a call between Malik Derry and Ambrin
        Qureshi on February 14, 2013 (recorded by the Atlantic
        County Jail) wherein Qureshi informs Malik Derry that
        the police found the joint (gun) at Kim Spellman’s
        apartment. Malik Derry responds by telling Qureshi:
        “It’s over” and “now I’m going to get the roof to the
        max.” See Government Exs. 5018 and 5018A, Trial
        Testimony of Special Agent Christopher Kopp at pp.
        2189-2197, See also PSR, paragraphs 171-183.

  (Docket No. 880 at 11 n.8. (italics omitted).)

        In sum, all of the evidence, with the exception of Mykal

  Derry’s confession, establishes that Malik Derry was the shooter

  and killer of Tyquinn James.

     2. “Brandishing” Versus “Discharging” a Weapon

        An examination of the jury’s verdict on the enhanced

  penalty sections of 18 U.S.C. § 924(c) reveals their assessment

  of who shot James.     Title 18, United States Code, Section 924(c)

  provides in part:

        (c)(1)(A) Except to the extent that a greater
        minimum sentence is otherwise provided by this
        subsection or by any other provision of law, any
        person who, during and in relation to any crime of
        violence or drug trafficking crime (including a
        crime of violence or drug trafficking crime that
        provides for an enhanced punishment if committed by
        the use of a deadly or dangerous weapon or device)
        for which the person may be prosecuted in a court of
        the United States, uses or carries a firearm, or
        who, in furtherance of any such crime, possesses a
        firearm, shall, in addition to the punishment provided
        for such crime of violence or drug trafficking crime—


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        (i) be sentenced to a term of imprisonment of not less
        than 5 years; (ii) if the firearm is brandished, be
        sentenced to a term of imprisonment of not less than 7
        years; and (iii) if the firearm is discharged, be
        sentenced to a term of imprisonment of not less than
        10 years.

        Because the statute provides for enhanced mandatory

  consecutive sentences for a defendant who, in addition to using,

  carrying or possessing a firearm in furtherance of certain

  crimes, also “brandishe[s]” a firearm (seven years mandatory

  consecutive sentence) or “discharge[s]” a weapon (ten years

  mandatory consecutive sentence), the jury was given special

  interrogatories to meet the rule of Apprendi v. New Jersey, 530

  U.S. 466 (2000) (“Other than the fact of a prior conviction, any

  fact that increases the penalty for a crime beyond the

  prescribed statutory maximum must be submitted to a jury, and

  proved beyond a reasonable doubt.”).

        The Verdict Sheet shows the jury found Malik Derry and

  Mykal Derry both guilty of: a) using, carrying or possessing a

  firearm (Juror Question #5) and b) discharging a firearm (Juror

  Question #7).    However, while the jury also found Mykal Derry

  guilty of brandishing a firearm, the jury acquitted Malik Derry

  of the same charge (Juror Question #6) which begs the question

  of what evidence, or lack of evidence, the jury relied on in

  making that distinction.




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        During deliberations, the jury posed the following question

  after asking for and being allowed to review the video of the

  James murder in open court: “If a person is shot without first

  being intimidated, either verbally or by seeing the weapon in

  part or in whole, is it safe to say that the weapon was not

  brandished?” (Court Exhibit 8 (C-8), Docket No. 826 at 8.)

        The Court responded in writing and reiterated its

  instruction on the meaning of “brandishing” and “discharging” a

  weapon:

      “[B]randish” means . . . to display all or part
      of the firearm, or . . . otherwise make the
      presence of the firearm known to another person,
      in order to intimidate that person, regardless of
      whether the firearm is directly visible to that
      person. . . “[D]ischarge” the firearm means to
      fire the weapon, that is, to cause the projectile
      to be propelled from the firearm.

  (Court Exhibit 8 (C-8), Docket No. 826 at 10.)

        The surveillance video of the James murder shows that James

  never saw the murderer approach him and accordingly never saw or

  otherwise observed the handgun used to kill him.            The use of a

  bicycle allowed the shooter to reach James quickly and quietly

  and, at an elevated level, shoot him at point blank range at the

  base of his skull.     James’s casual demeanor prior to being

  killed and his failure to react to the shot or the shooter,

  except to fall over dead, proves conclusively that James never




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  saw the man who killed him.      In short, while the killer of James

  certainly “discharged” his weapon, he never “brandished” it.

        This is significant because while a great deal of evidence

  in the record shows that Mykal Derry directed the DDTO’s

  enforcers to use their guns to shoot at and intimidate the

  DDTO’s competitors, the only record evidence that Malik Derry

  ever personally discharged a weapon was the murder of James.

  Accordingly, while they were never asked directly that precise

  question, the jury’s decision to convict Malik Derry of

  discharging a weapon in further of the operations of the DDTO

  but acquitting him of brandishing a weapon for that same purpose

  - especially after posing the question they did and reviewing

  the video of the James murder - is proof positive the jury

  determined that Malik shot and killed James.

        In sum, after considering all the evidence, after carefully

  considering the Court’s instruction on “brandishing” and

  “discharging,” after viewing the video of the shooting a second

  time, the jury rejected Mykal Derry’s confession as inconsistent

  with all the other evidence in the case.

  E. Evidence of a Pattern of Shooting at James, a Drug Rival

        Perhaps the most compelling evidence that the James killing

  was in furtherance of the drug conspiracy is the trial evidence

  that the DDTO’s enforcers twice before had tried, but failed, to

  murder James.


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    1. First Shooting at James

        The first time Derry enforcers targeted James was in

  September 2011.        The record evidence is that Shaamel Spencer and

  Jermaine Reynolds, attempted to shoot James at the residence of

  Trevin Allen’s mother. 15      The Government summarized a September

  14, 2011, Atlantic City jailhouse phone call between Mykal Derry

  and Christian Blackman who discussed the events leading up to

  the shooting:

        The conversation was recorded by jail officials.
        GX5004; Tr. 869-70. During that call, Mykal described
        how a rival drug dealer, Sedrick Lindo, “tried to off
        [shoot]” Mykal after Lindo “rolled up on” Mykal while
        he was in “the Third” village of Stanley Holmes
        complex. Tr. 869-74. Lindo “let one off [fired a
        shot] and ran.” Tr. 880.

        Tyquinn James was associated with Lindo, and Mykal
        demanded that James pay Mykal $10,000 as reparations
        for Lindo’s failed assassination attempt. Tr. 880-81.
        James claimed that he did not have the money. Tr. 881.

        Mykal then described how two DDTO enforcers, Shaamel
        “Buck” Spencer and Jermaine “Bam” Reynolds, tried to
        avenge the Lindo faction’s attempted assassination of
        Mykal. Reynolds and Spencer, while armed, chased
        James into the “crib” [residence] of Trevin “Kadaf”
        Allen’s mother. Tr. 875, 877. Fortunately for James,
        Reynolds had given Spencer “a blicky [gun] that didn’t
        even work.” Tr. 877-78. Reynolds also had a
        dysfunctional gun. “Bam walked up on T.Y. [James],
        tried to let three [gunshots] go, that sh*t [the gun]
        didn’t even go off.” Tr. 879.


        15
         There may have been others present. For example, both
  Mykal Derry, in a recorded call to Christian Blackman, and Young
  (See Direct Examination of Kareem Young, Trial Tr. 4102, July
  30, 2015, Docket No. 787) appear to place Mykal’s other brother
  “Boo” at the scene of the shooting.

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        Later, while James was “hiding” from the DDTO killers,
        he asked Mykal to meet him at an Atlantic City
        restaurant, apparently to resolve their dispute. Tr.
        882. Mykal refused, explained that he was carrying a
        gun, and would not bring it to the restaurant that was
        frequented by the police. Tr. 882.

  (Docket No. 913 at 38-39.)

        As the Government noted at the sentencing of Mykal Derry,

  the record evidence corroborates Mykal Derry’s description of

  the shooting:

        Mykal Derry talks to Christian Blackman, his former
        drug supplier, while Christian Blackman is in the
        Atlantic County Jail, of an attempt to kill Tyquinn
        James where he's with Kalim Selby, his half-brother
        who he was selling drugs with, with Shaamel Spencer,
        who is one of his enforcers, with Jermaine Reynolds,
        Bam, who is another one of his enforcers, and then he
        talks about the gun that they gave Shaamel Spencer,
        Buck, jammed, and my brother went bananas and whatever
        and there were shots fired, and the Government
        presents the physical evidence of shots fired at
        Tyquinn James, shows the pictures of that residence
        being struck with gunfire, with projectiles,
        establishes through a law enforcement officer that
        Tyquinn James was on the scene at the time and was
        uncooperative as an intended victim. His driver's
        license, Tyquinn James, was admitted, comes back to
        that residence, 300 New York Avenue, and the mother of
        Trevin Allen is the resident of that area.

  (Docket No. 854 at 45.)

    2. Second Shooting at James

        The evidence shows that on November 19, 2011, 16 in the

  Disston Avenue Apartment building, Shaamel Spencer shot at James




        16
         The record has contradictory dates, November 2011 and
  September 2011, as to when the shooting occurred.

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  but hit an associate, Kevin Green, in the face.             A police

  investigation of the shooting scene corroborated Young’s

  testimony at trial about the shooting which the Government

  summarizes as follows:

        While hanging out in Brown’s Park with Young and
        others, Spencer, completely unprovoked, jumped on a
        bicycle and chased James and Kevin Green, who had just
        ridden past the DDTO associates on another bicycle.
        Spencer chased them into a nearby apartment building
        and fired several bullets into the building. Spencer
        later told Young that he was trying to shoot James,
        but accidentally hit Green. Tr. 4094-4100.

  (Docket No. 913 at 39.)

    3. Third and Fatal Shooting of James

        At 7:09 p.m. on February 10, 2013, in a wiretapped call,

  Malik Derry spoke to his brother and told him to come to the Red

  Klotz, a liquor store near Stanley Holmes Village, because he

  had located “T.Y.” (James) outside in front of the store, and

  Mykal should bring “that” and further that he was “dead

  serious.” (Gov. Exhibit 703.)         After a few minutes, Malik Derry

  confirmed that James was by the Red Klotz liquor store.               Mykal

  directed Malik to “stay right there because that n*gger right in

  front of Red Klotz, you heard?” (Gov. Exhibit 705) (See Direct

  Examination of Special Agent Christopher Kopp, Trial Tr. 2101,

  July 16, 2015, Docket No. 769 (discussing the Exhibit).)               The

  surveillance video shows a few moments later a tall thin man

  riding a bicycle in front of the liquor store shoot and kill



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  James. (Gov. Exhibit 12011 A-B.)           As we previously described,

  within minutes, Derry told Spencer, a Derry enforcer, that Malik

  had killed James.

        The fact that the DDTO enforcers shot at James two other

  times is powerful circumstantial evidence that Malik Derry’s

  shooting of James was in furtherance of the drug trafficking

  conspiracy.    Mykal Derry, the head of the drug trafficking

  organization: (1) appointed Malik Derry to be an enforcer; (2)

  provided Malik Derry with the murder weapon from his residence

  and a DDTO stash house; (3) sang his brother’s praises “this

  n*gga iz a tru derry”; and (4) minutes after the shooting, let

  his main enforcer Spencer know “Lik just splashed T.Y.,” as if

  to brag that his little brother had accomplished something his

  main enforcer had failed to do.

        This pattern of shooting at Tyquinn James by the enforcers

  of the DDTO Organization, under the circumstances in which

  people expressed their disbelief that James would be so bold as

  to be found within earshot of Stanley Holmes Village,

  establishes that this was an organizational beef 17 that turned


        17
         The Government evidence included testimony of an expert
  witness from the Drug Enforcement Administration, Special Agent
  David McNamara, who testified that while he knew of no direct
  evidence that the James murder was drug-related, the overall
  evidence in the case, including the repeated attempts to kill
  James and other evidence of animosity between the competing
  gangs, was consistent with the violence that typically occurs
  between rival gangs. (Cross-examination of Special Agent David

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  on, and had a nexus to, the dangerous and competitive world of

  selling illicit drugs.

                                        V.

                                 BRADY CLAIMS

      The Failure to Disclose the Brown, Qureshi and Spence 302s

        As previously described, initially the Brown I 302 was the

  subject of Defendant’s post-trial Brady motion.            Now, with the

  additional Government disclosures of similar materials, 18 the



  McNamara, Trial Tr. 4417-24, 4433-34, Aug. 4, 2015, Docket No.
  797.)

        18
         The Government urges us to consider our earlier
  determination, that the Brown I 302 was not Brady material, to
  be the law of the case. While this Opinion is consistent with
  the law of the case as set forth in our June 2016 and August
  2016 Opinions, there are several reasons why we believe that we
  should not start from that premise. First, we should have the
  ability to revisit our prior holdings when, as in this case, we
  are considering new evidence, e.g., the second Brown 302, and
  the Qureshi and Spence 302s. Second, we deem it appropriate to
  reconsider our prior rulings where the legal standard to be
  applied is different. Now, with multiple pieces of undisclosed
  materials, we are required by Third Circuit law to engage in a
  cumulative materiality analysis, see Dennis, 834 F.3d 263, 312-
  13 (3d Cir. 2016); Johnson v. Folino, 705 F.3d 117, 129 (3d Cir.
  2013). Before, with only the Brown I 302 to consider, this was
  neither required nor possible. Moreover, under Third Circuit
  law, the law of the case doctrine “does not restrict a court’s
  power but rather governs its exercise of discretion.” In re
  Pharmacy Benefit Managers Antitrust Litigation, 582 F.3d 432,
  439 (3d Cir. 2009) (quoting Pub. Interest Research Group of NJ,
  Inc. v. Magnesium Elektron, 123 F.3d 111, 116 (3d Cir.
  1997))(citations omitted). While any court should be “loathe to
  [revisit its earlier rulings] in the absence of extraordinary
  circumstances such as where the initial decision was clearly
  erroneous and would make a manifest injustice” Christianson v.
  Colt Indus. Operating Corp., 486 U.S. 800, 816 (1988), the law
  of the case doctrine allows for reconsidering decisions “where

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  Brown, Qureshi, and the Spence 302s are the subject of

  Defendant’s indicative motion alleging Brady violations.                In

  each instance, the alleged Brady violation stems from the

  witness’s statement that they did not know the reason why the

  Derry brothers killed James.          According to the defense,

  Qureshi’s, Brown’s, and Spence’s lack of knowledge as to the

  motive for the James shooting, both individually and

  collectively, undermines, or if disclosed would have led to

  other evidence that would undermine, the Government’s theory and

  the jury’s finding that the shooting was in furtherance of a

  drug conspiracy.

                                         VI.

                              THE RELEVANT LAW

  A. Supreme Court Law

        In Brady v. Maryland, the Supreme Court held “that the

  suppression by the prosecution of evidence favorable to an

  accused upon request 19 violates due process where the evidence is

  material either to guilt or to punishment, irrespective of the

  good faith or bad faith of the prosecution.” 373 U.S. 83, 87

  (1963); Banks v. Dretke, 540 U.S. 668, 691 (2004); Kyles v.



  (1) new evidence is available[.]” Pharmacy Benefit, 582 F.3d at
  439.

        19
         Under the law, the defendant is no longer required to ask
  for Brady material. Strickler v. Green, 527 U.S. 263, 280 (1999)
  (citing United States v. Agurs, 427 U.S. 97, 107 (1976)).

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  Whitley, 514 U.S. 419, 432 (1995).         As set out by the Supreme

  Court: “There are three components of a true Brady violation:

  The evidence at issue must be favorable to the accused, either

  because it is exculpatory, or because it is impeaching; that

  evidence must have been suppressed by the State, either

  willfully or inadvertently; and prejudice must have

  ensued.” Strickler v. Green, 527 U.S. 263, 281-82 (1999).

        As the Supreme Court recently explained, “[E]vidence is

  ‘material’ within the meaning of Brady when there is a

  reasonable probability that, had the evidence been disclosed,

  the result of the proceeding would have been different.”

  Turner v. United States, 582 U.S. ___, ___, 137 S.Ct. 1885,

  1893 (2017) (quoting Cone v. Bell, 556 U.S. 449, 469-70

  (2009)).    The Supreme Court previously said, “A ‘reasonable

  probability’ of a different result is accordingly shown when

  the government's evidentiary suppression ‘undermines

  confidence in the outcome of the trial.’” Kyles v. Whitley, 514

  U.S. 419, 434 (1995)(quoting Bagley, 473 U.S. 667, 678 (1985)).

  It is “petitioner’s burden [] to establish a reasonable

  probability of a different result.” Strickler, 527 U.S. 263,

  291 (1999) (emphasis in original) (citing Kyles, 514 U.S. at

  434).




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  B. Third Circuit Law

        In addition, the Third Circuit Court of Appeals instructs

  us to do both an individual materiality analysis and a

  cumulative materiality analysis when deciding whether

  undisclosed evidence is Brady material.           Our Circuit, quoting

  the Supreme Court in Kyles and Bagley said:

        A court must “evaluate the tendency and force of the
        undisclosed evidence item by item” to determine
        whether the evidence is material. Kyles, 514 U.S. at
        436 n. 10, 115 S.Ct. 1555. In addition, a court must
        “evaluate its cumulative effect for purposes of
        materiality separately.” Id. Individual items of
        suppressed evidence may not be material on their own,
        but may, in the aggregate, “undermine[] confidence in
        the outcome of the trial.” Bagley, 473 U.S. at 678.

  Johnson v. Folino, 705 F.3d 117, 129 (3d Cir. 2013).

                                        VII.

                                   ANALYSIS

  A. The Prosecutorial Role in Our Criminal Justice System

        Our first consideration is the role of the United States in

  failing to disclose the 302s.         The prosecutors in the Derry

  trial, like all prosecutors, have a special role in the American

  criminal justice system.      Their “client” is the sovereign and

  the United States’ interest in convictions is predicated upon

  truth, fairness and justice. See generally, Strickler, 527 U.S.

  at 281.




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        The Supreme Court hailed the importance of fairness in

  criminal trials and embraced an inscription on the walls of the

  Department of Justice:

        Society wins not only when the guilty are convicted
        but when criminal trials are fair; our system of the
        administration of justice suffers when any accused is
        treated unfairly. An inscription on the walls of the
        Department of Justice states the proposition candidly
        for the federal domain: ‘The United States wins its
        point whenever justice is done its citizens in the
        courts.'

  Brady, 373 U.S. at 87 (footnote omitted).              The Supreme Court

  cautioned against an adversary system where the prosecutors, by

  suppressing evidence, become more “gladiatorial” than “truth-

  seeking”:

        Unless, indeed, the adversary system of prosecution is
        to descend to a gladiatorial level unmitigated by any
        prosecutorial obligation for the sake of truth, the
        government simply cannot avoid responsibility for
        knowing when the suppression of evidence has come to
        portend such an effect on a trial's outcome as to
        destroy confidence in its result.

  Kyles, 514 U.S. at 439.

  B. Government Good Faith

        Malik Derry argues the Government engaged in a pattern of

  nondisclosure as to the three 302s.         While Malik Derry does not

  allege intentional concealment, guile, prosecutorial misconduct

  or any sort of bad faith, the characterization of the

  nondisclosures as a “pattern” could hint of bad faith.                We have




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  observed the parties during the entire trial process and to date

  have seen no evidence of prosecutorial bad faith or misconduct.

        In our August 2016 bench opinion we concluded that the

  Government failure to disclose was inadvertent, as the

  Government represented to this Court.         Regarding the Brown I 302

  we said that it appeared to us that the Government endeavored to

  disclose its perception of the contents, that there appeared to

  have been a desire and intent to follow up, and for reasons that

  were not entirely clear to us, the actual disclosure of the 302,

  which was intended, never occurred, perhaps because of what we

  called then the “fog of trial.” 20

        There are a number of reasons the failure to disclose all

  three 302s might have been inadvertent.          As we previously

  described, this complex case, even when pared down, involved

  seventeen defendants, nearly a six week trial, thousands of

  hours of wiretaps, innumerable exhibits, voluminous discovery,

  and extensive witness testimony as reflected in thousands of

  pages of trial transcripts.

        Of course, while the complexity of the case and the

  attendant volume of material might explain a Brady violation, it


        20
         To its credit, the United States agreed at the June
  Hearing that it would have been preferable if the Brown I 302
  had been disclosed in full. When asked whether in a better
  world or in a perfect world the 302 would have been turned over,
  the prosecutor responded: “Judge, I will absolutely concede this
  point.” (Docket No. 878 at 43.)

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  would not excuse a Brady violation.         The Third Circuit has said,

  “We refuse to allow [the Commonwealth] to evade its duty under

  Brady based on failure to adequately search or maintain its own

  files.” Dennis v. Secretary, Pennsylvania Department of

  Corrections, 834 F.3d 263, 289 (3d Cir. 2016).            Nonetheless, we

  are convinced the failure to disclose the 302s was not

  intentional.

  C. The Conscientious Prosecutor

        We are also certain that if there were any Brady relevance

  of the 302s, it might not have been apparent to the Government

  prior to and even during the trial.         It is often difficult, for

  example, to see the value of some evidence until the trial has

  concluded. United States v. Agurs, 427 U.S. 97, 108 (1976).               As

  Justice Marshall said in his dissenting opinion, “while the

  general obligation to disclose exculpatory information no doubt

  continues during the trial . . . even a conscientious prosecutor

  will fail to appreciate the significance of some items of

  information.” Agurs, 427 U.S. at 117.         In this case, it is fair

  to say the full import of an alternative motive for the James

  murder might not have been apparent until Mykal Derry’s surprise

  confession that he killed James over a woman.

        In addition, the United States demonstrated its good faith

  after the Court forwarded Malik Derry’s letter to Counsel.               Once

  it became clear to the Government that the 302s were of interest


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  to the Defense, the Government searched its records and

  disclosed more 302s and certainly did not then withhold the

  contested evidence. 21

     D. Open File Policy

        In our August bench opinion, we spoke to the value of an

  open file policy, while also noting it is not required by the

  Constitution. 22   We echoed the Supreme Court’s guidance when we

  said we hoped the Government would be as open as it could be




        21
         We commend the Government for their post-trials efforts.
  Nonetheless, as we have noted, the burden of properly disclosing
  Brady information rests solely upon the prosecution, not upon
  the defense. The defense is not required to engage in hide and
  seek as to favorable evidence. “A rule thus declaring
  prosecutor may hide, defendant must seek, is not tenable in a
  system constitutionally bound to accord defendants due process.”
  Banks v. Dretke, 540 U.S. 668, 696 (2004)(internal quotation
  marks omitted). Nor is the defense required to engage in a
  scavenger hunt for Brady evidence: “Our decisions lend no
  support to the notion that defendants must scavenge for hints of
  undisclosed Brady material when the prosecution represents that
  all such material has been disclosed.” Id. at 695.
        22
         Prosecutors, including those in the Derry trial, are not
  required by the Constitution to have an open file policy
  although as the Supreme Court said, “such a policy might work
  out in practice[.]” Kyles v. Whitley, 514 U.S. 419, 437 (1995).
  A prudent prosecutor will disclose any evidence that is
  favorable to the defendant. Turner v. United States, 582 U.S.
  ___, ___, 137 S.Ct. 1885, 1893 (2017). The Kyles Court said,
  “This means, naturally, that a prosecutor anxious about tacking
  too close to the wind will disclose a favorable piece of
  evidence.” 514 U.S. at 439. The Court added, “This is as it
  should be.” Id.



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  simply because closed files create issues where issues do not

  have to be created. 23 (Docket No. 893 at 24-25.)

        Whatever the reason the United States did not turn over the

  302s – the “fog of trial,” the unforeseeable significance of the

  302s, security concerns, or any kind of good faith inadvertence,

  the rule is unwavering - Brady material must be disclosed.

  Accordingly, our task ultimately is to examine the “character of

  the evidence, not the character of the prosecutor.” Agurs, 427

  U.S. 97, 110 (1976).

  E. Favorability

        To prove a Brady violation, the defendant must show three

  elements: favorability, suppression, and materiality.              We turn

  first to the requirement that “the evidence ‘must be favorable

  to the accused, either because it is exculpatory or because it




        23
         In this case, the Government had legitimate concerns that
  the wholesale disclosure of Jencks Act materials and other
  witness statements might subject even non-cooperating witnesses
  to real harm by members of the DDTO. Evidence of the violent
  nature of the gang and retribution against “snitches” was part
  of the Government’s proofs. It appears that even defendants who
  did not sign cooperation agreements were required to make
  proffers to the Government as part of their plea agreements and
  those proffers often disclosed information harmful to the
  interests of the defendants. We urge the Government to utilize
  as often as possible, and as they did in this case, other
  methods to protect confidential information and witnesses while
  meeting their disclosure obligations, such as “attorney’s eyes
  agreements,” in camera submissions, warnings to defendants that
  witness intimidation will be prosecuted, relocation of
  witnesses, and other protection methods appropriate to the case.

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  is impeaching.’”       Dennis, 834 F.3d at 284 (quoting Strickler,

  527 U.S. at 281-82).

        Defendant argues the testimony of the three rebuttal

  witnesses would have contradicted Young’s testimony and

  therefore impeached 24 his credibility. 25        Accordingly, Defendant

  contends, the 924(c) verdict against Malik Derry would probably

  have been different, making the nondisclosure of the 302s a

  Brady violation.       Deconstructed, this argument consists of these

  subparts: (1) Qureshi, Brown and Spence, each to some degree




        24
         The favorability element of a Brady violation can be
  invoked for exculpatory or impeaching reasons. Strickler, 527
  U.S. at 281-82. Malik Derry argues the evidence is impeaching
  and exculpatory. (Docket No. 911 at 14-15.) While Defendant
  characterizes his favorability argument in part as “impeaching,”
  the Government re-characterizes Defendant’s argument as
  “impeachment by contradiction” as it is the alleged contrast in
  testimony between Young and the statements of the other three
  witnesses that Defendant argues impeaches Young’s credibility.
  (Docket No. 913 at 43.) We agree with the Government. This is
  not the ordinary use of the term “impeach” in the sense of a
  witness’s prior inconsistent statement on a material point or
  evidence that goes to credibility in general, such as a prior
  conviction. See, e.g., Giglio v. United States, 405 U.S. 150
  (1972). Ultimately, however, this is more semantics than
  substance. We consider Defendant’s argument as to the possible
  implications of the statements in the 302s to be within the
  scope of a favorability analysis under Brady.

        25
         Malik Derry argues that Young’s status as an informer
  raises “serious questions of credibility.” (Docket No. 911 at
  15.) That informants have credibility issues at trial is
  generally true. However, in this trial, Young’s criminal record
  and plea deal were fully disclosed to the jury which had the
  opportunity to observe his demeanor and judge his credibility
  while experienced litigators cross-examined him.



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  members of the larger conspiracy, did not know why the shooting

  occurred; (2) the shooting was therefore, by inference not in

  furtherance of a drug conspiracy; (3) Young testified the

  shooting was in furtherance of a drug conspiracy; and (4) the

  302 statements contradict Young’s testimony, thereby impeaching

  by contradiction his credibility, and making their suppression a

  Brady violation.

    1. Young Testified That He Did Not Know The
       Origin of the DDTO/Trevin Allen Gang Conflict

        Kareem Young testified that he, as well as the other

  members of the DDTO, understood that James, Sedrick Lindo, and

  others were members of a rival gang, and as such were not

  allowed near or in Stanley Holmes Village and would be shot or

  beaten if they were found in the area. (Direct Examination of

  Kareem Young, Trial Tr. 3951-52, July 30, 2015, Docket No. 787.)

  Under both direct and cross-examination, Young testified several

  times he did not know why the split between the two previously

  cooperative gangs occurred or what triggered this “beef” between

  the Trevin Allen gang, including James, and the DDTO. 26


        26
         More specifically, Young testified that before he went to
  prison, the Trevin Allen and Mykal Derry gangs were “cool
  together, selling drugs together,” including in Stanley Holmes
  Village. (Direct Examination of Kareem Young, Trial Tr. 3977,
  July 30, 2015, Docket No. 787.) The Derry and Allen
  relationship changed while Young was in prison. Under direct
  examination by the Government, in response to the question of
  “What had changed?” Young testified:



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        In one sense then, the relevant Qureshi, Brown and Spence

  statements are not inconsistent with Young’s testimony in that

  they sought to merely convey the same thing Young testified to:

  they, like Young, did not know the precise reason for the split

  or “beef” between the Allen gang and the DDTO and from that why

  James was shot.

        That having been said, even assuming that the statements

  are contradictory on some level and Young were questioned by

  counsel about Qureshi’s, Brown’s and Spence’s lack of knowledge,

  it is difficult to speculate on what his answer might have been,

  and even more difficult to assume his answer would have been




        A. That we stopped being cool with them and just
        started beefing.
        Q. Okay. And do you know actually how that started?
        A. No.
        Q. Okay. Did it start - do you believe it started
        while you were in custody?
        A. Yes.

  (Id. at 3982.)

       On cross examination, Young also testified “Yes” to the
  question, “You testified that you didn’t know the origin of the
  beef — you had heard different things, but you didn’t know
  really the origin or how the beef started between Trevin Allen’s
  group and how they split off from Mykal Derry’s group because
  you were in custody, correct?” (Cross-examination of Kareem
  Young, Trial Tr. 4248, Aug. 3, 2015.) Young was again asked
  whether once he returned from prison, were the Trevin Allen and
  the Mykal Derry group “beefing, shooting at each other,
  correct?” Young said, “Yes.” (Id.)



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  helpful to the defense. 27      (Direct Examination of Kareem Young,

  Trial Tr. 4095-96, July 30, 2015, Docket No. 787.)

    2. Lack of Knowledge by Other Members of the Conspiracy

        We are also unpersuaded by the heart of Malik Derry’s

  argument that if Qureshi, Brown and Spence did not know why the

  shooting occurred it therefore follows, by inference, that the

  shooting was not in furtherance of the charged drug conspiracy.

  An examination of the full text of the relevant 302s fails to

  support that inference.

     a. Qureshi 302s

        The FBI wrote in the Qureshi I 302, “Qureshi did not know

  why JAMES had been murdered.” 28 (Docket No. 903-2.)           Malik

  Derry’s argument is that Qureshi 29 was so close to Mykal and




        27
         For example, a simple and likely truthful answer would
  have been: “No, I did not know that.” A slightly broader
  variant of the same answer might be: “I don’t know what they
  don’t know.”

        28
         The first 302 was from a February 19, 2014 interview of
  Ambrin Qureshi at the U.S. Attorney’s Office under a proffer
  agreement. (Docket No. 903-2 at 1.) The second 302 was from a
  September 14, 2016 post-trial interview. (Docket No. 903-1 at
  1.)

        29
         Ambrin Qureshi is a co-conspirator who pled guilty on
  August 27, 2014, to a one-count information charging her with
  knowingly and intentionally conspiring to distribute and possess
  heroin, in violation of 21 U.S.C §§ 841(a)(1) and (b)(1)(B) and
  § 846. (United States v. Qureshi, Crim. No. 14-489 (D.N.J.),
  (Docket No. 27).) She was sentenced on October 20, 2016 to nine
  months in prison and four years of supervised release. (Id.,
  Docket No. 35.)

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  Malik she would have known if the shooting were related to the

  drug trafficking conspiracy. (Docket No. 911 at 9-10.)

  Specifically, Derry argues Qureshi had a “close association with

  Mykal and Malik Derry” and a “detailed knowledge about this

  drug-trafficking conspiracy, its members and its beefs.” (Docket

  No. 911 at 9.)     Defendant contends, “While Ms. Qureshi may not

  have had a large or even formal role in the Derry drug-

  trafficking conspiracy, there can be no doubt that a fair

  reading of the notes of this pretrial interview shows that she

  possesses an astonishingly detailed knowledge of the

  conspiracy’s personnel and its motivations.” (Id.)

        Defendant’s argument has some support in the record.                For

  example, Qureshi knew about the shooting of Shamir Harper which

  “was in retaliation for Harper shooting somebody, and that

  Christian Blackman, aka B.G. killed Harper, and that Kalim Selby

  and Shakeem Young were also involved.” (Docket No. 903 at 6-7.)

  Defendants argue: “Ambrin Qureshi is someone who would have been

  expected to know if Tyquinn James was killed in order to protect

  or to further the conspiracy’s interests.              Despite this, she

  cannot provide a conspiracy-related reason for the killing of

  Tyquinn James.” (Docket No. 911 at 9-10.)

       i. Sherlock Holmes (“The Dog That Does Not Bark”)

        Malik Derry’s argument regarding the Qureshi 302 is the

  same argument he previously made to this Court in his Brady


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  motion as to the Brown 302.      There he invoked the character of

  Sherlock Holmes to explain the theory of his defense:

        Indeed, her not knowing is like the dog that does not
        bark in the night in the Sherlock Holmes story “The
        Silver Blaze.” Arthur Conan Doyle, The Memoires of
        Sherlock Holmes, at p.1. Dover Publications; Reprint
        edition (2010). In that story, it is the failure of
        the watchdog to bark that shows that the culprit must
        have been familiar to the dog. Here, it is Ms.
        Brown’s supposed ignorance of a drug-conspiracy motive
        that is material because she is, after all, a member
        of the Mykal drug-trafficking conspiracy. And she is
        not just any member. She is a co-defendant whose
        apartment was a hub for the drug-trafficking
        conspiracy that resulted in her personal encounters
        with many other members of the drug-trafficking
        conspiracy. Her ignorance of the motive means that
        she, a particularly plugged-in member of the
        conspiracy, is unable to tie the killing of Tyquinn
        James to the activities of the conspiracy.

  (Docket No. 873 at 14-15.)

        Paraphrasing Malik Derry’s argument, then as to Brown and

  now as to Qureshi: (1) Qureshi was a knowledgeable close

  associate or confidant of Malik and Mykal Derry; (2) such close

  associates or confidants would know if a shooting were drug

  related; (3) Qureshi did not know the shooting was drug related;

  and (4) therefore, the shooting was not drug related.

        This argument hinges, however, on the false premise that

  Qureshi was a person “who would have been expected to know.” 30              A

  close examination of the 302 reveals that this inference is not


        30
         We note that Qureshi’s “I don’t know why” statement is
  not directly favorable on its face, in the sense of tending to
  prove the 924(c) “in furtherance” element.

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  logical.    Contrary to Defendant’s explanation, the most powerful

  explanation of why Qureshi did not know why James was shot, and

  would not have been expected to know, comes from Qureshi

  herself.    In her post-trial 302, she said “[I]n the years that

  she knew Mykal Derry he never spoke to her about any shooting

  that he was involved in.” (Docket No. 903-1 at 2.)              She also

  said she “never discussed Tyquinn James with Mykal Derry or

  Malik Derry.” (Docket No. 903-1 at 1.)

         It is quite simple.    Qureshi did not know about James

  because the Derrys did not confide in her.             True, Qureshi was

  privy to gossip about the conspiracy, its personnel, its

  business and its beefs.      However, by Qureshi’s own admission,

  Mykal Derry did not inform her about his involvement in

  shootings and the Derrys did not discuss James with her.

         We draw a sharp distinction between gossip and actual

  knowledge.    Gossip, like hearsay, is unreliable.           A fair reading

  of Qureshi’s statements as a whole establishes that not

  “knowing” about Derry shootings was ordinary and expected for

  her.

         Importantly, the Qureshi II 302 31 provides, “Qureshi was

  asked to confirm that Mykal Derry never informed her of any




         31
         The Qureshi II 302 is post-trial and therefore not
  subject to Brady disclosure requirements. Nonetheless, it
  provides some insight into her level of knowledge concerning the

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  shooting incident he was involved in, and Qureshi replied, ‘Why,

  so they could kill me?’” (Docket No. 903-1 at 2.) 32           Clearly,

  Qureshi conveyed that she neither expected nor hoped to know

  anything about Derry shootings.        And who would be a better judge

  about such expectations than Qureshi?         For Qureshi, such

  knowledge 33 was the equivalent of the sword of Damocles and like

  Damocles, she preferred not to have the sword looming overhead.



  James shooting and whether her earlier statements could be
  considered favorable to the defense.

        32
         We are reminded of a relevant quote from a modern
  adaptation of Doyle’s Sherlock Holmes novel, The Hound of the
  Baskervilles:

        Sherlock Holmes: I never did ask, Dr. Frankland. What
        exactly is it that you do here?

        Dr. Frankland: Ah, Mr. Holmes, I would love to tell you,
        but then, of course, I'd have to kill you.

        [laughs]

        Sherlock Holmes: That would be tremendously ambitious of
        you.

  Sherlock (TV Series), http://www.imdb.com/title/tt1942613/quotes
  (visited August 3, 2017).

        33
         Qureshi’s concerns were justified. Mykal Derry had
  threatened Qureshi and her family. Qureshi also knew that the
  DDTO used intimidation, threats, and violence against others.
  She had heard that Mykal Derry was involved in murders and was
  telling people to kill other people. (Qureshi I 302, Docket 903-
  2 at 2.) Considering their threats, intimidation and violence,
  Qureshi thought it best not to trifle with the DDTO. We are
  confident that her statement that she risked being killed if she
  knew too much was not only an accurate reflection of her
  intuition, but chillingly, the truth.



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       ii. Derry Risk Management

        Just as Qureshi clearly did not want the burden of this

  particular type of knowledge, so too did Malik and Mykal Derry

  not want to share highly inculpatory knowledge with her.              This

  was in line with their overall strategy of managing risk.               The

  record in this case is replete with the methods used by the DDTO

  to manage risk, practices common to criminal organizations of

  this size and purpose.

        These methods included: (1) storing guns and drugs in

  secretive places; (2) carrying guns for protection or

  intimidation when necessary; (3) not selling drugs in other

  gang’s territory; (4) talking on the phone cryptically and in

  code; (5) using police scanners; (6) watching for police

  officers; (7) positioning lookouts outside of trap houses; (8)

  moving trap house sites due to increased police activity (e.g.

  following the Derreck Mack shooting); (9) threatening,

  intimidating or killing drug rivals who trespassed into their

  territory or who threatened them or their drug operations; and

  (10) threatening witnesses in judicial proceedings.

        Limiting knowledge on a “need to know” basis is consistent

  with the risk management practices of the DDTO.            It explains why

  Mykal Derry likely did not confide in Qureshi about the

  shooting.    The Derrys themselves defined their confidants by the

  confidences they shared.      Mykal Derry told Spellman and Spencer


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  about the shooting; they were confidants.              He did not tell

  Qureshi; she was not.      As Qureshi was not a Derry confidant, she

  would not be expected to know about the James shooting.

        This conclusion is consistent with all the other evidence

  in the case.    As with Jodi Brown, Qureshi’s role in the DDTO was

  not sufficiently high to be privy to such information.                Qureshi

  was one of a rotating band of women, at least one of them a drug

  user and tester, who had the functionally important but highly

  risky and compartmentalized role of allowing their apartments to

  be used as storage sites for the conspiracy.              While it is true

  that in some organizations risk equates with reward and is

  evidence of a position high in the hierarchy, here the opposite

  is true.    In an organization of this kind, the evidence shows,

  the leaders of the group, e.g. Mykal Derry, shifted the highly

  risky task of storing inventory and the deadly tools of the

  trade to underlings as a way to minimize the leaders’ own

  exposure to detection and prosecution.

        In sum, Qureshi was neither an organizer nor a leader.

  There is no evidence that she was a confidant when it came to

  the DDTO’s use of violence.      She was not an enforcer or

  otherwise expected to use a weapon.         She would not be expected

  to know which rivals were targeted.         When viewed in light of the

  302’s actual contents, Qureshi’s role in the conspiracy, and the

  means, methods, and operations of the DDTO as a whole, the


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  Qureshi 302 was not impeaching, not exculpatory, not favorable,

  and not Brady evidence.

     b. Brown 302s

        The FBI states in the Brown I 302, Brown 34 “did not know the

  reason James was murdered.” (Brown I 302, Docket No. 903-3 at

  5.)   Malik Derry’s argument as to the Brown 302 is the same as

  to the Qureshi 302; that if the shooting of James were in

  furtherance of the conspiracy, then Brown would have known as

  she was in a position to know.        As we noted previously, the “not

  knowing” language, on its face, is not directly favorable

  because it neither tends to prove nor disprove the 924(c) in

  furtherance element.      Rather, Defendant’s argument is based upon

  the inferential meaning of the 302 language, as we described

  above.

        Here, Defendant reasserts his contention made in his

  original Brady motion that the Brown 302 was “exculpatory and

  material.” (Docket No. 914 at 5, 10.)         He argues the Qureshi and

  Spence 302s corroborate the Brown I 302 and would have provided




        34
         Jodi Brown pled guilty on March 27, 2014 pursuant to a
  plea agreement to a one count information charging her with
  “knowingly and intentionally conspiring to distribute 100 grams
  or more of a substance containing a detectible amount of heroin
  . . .” in violation of 21 U.S.C.§§ 841(a)(1) and (b)(1)(B) and §
  846. (United States v. Jodie Brown, Crim. No. 14-162 (D.N.J.),
  Docket No. 22.) On November 17, 2016, Brown was sentenced to
  time served plus four years of supervised release. (Id., Docket
  No. 29.)

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  “cumulative weight to the ability of Defendants to impeach the

  credibility” of Young’s testimony. (Docket No. 914 at 10.)

        It is uncontroverted that at one point in time Brown’s

  residence was “used as a trap house in which conspiracy members

  would gather to conduct business and relax.” (Docket No. 914 at

  7.)   Defendant argues Brown had near-encyclopedic knowledge of

  the drug conspiracy. (Docket No. 914 at 7.)            According to the

  Brown I 302, Mykal Derry came to her apartment every day at 5:30

  a.m. to drop off heroin and other people would begin to come at

  9:00 a.m. (Docket No. 903-3 at 3.)         Members of the conspiracy

  would discuss shootings that had occurred and rivalries between

  residents of Stanley Holmes Village and other public housing

  projects. (Docket No. 903-3 at 7.)         According to Malik Derry,

  she was able to identify 29 associates of the organization, 17

  of whom were indicted. (Docket No. 873 at 5-6.)

        Like Qureshi, Brown knew about the drug conspiracy;

  however, she did not know the details of the James murder.               She

  did not know for certain the identity of the shooter, nor did

  she know why the shooting occurred.         For many reasons, Brown

  would not have been expected to know why the shooting occurred.

        Our observations regarding the DDTO’s risk management

  practices and the likelihood that Qureshi would know the details

  of the James shooting apply with equal force to Brown.              While

  Brown’s home was a frequent gathering place for associates


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  earlier in the life of the conspiracy, the fact that Brown was

  privy to discussion and gossip among conspirators about drug

  activities, rivalries, even shootings, does not mean that the

  Derrys trusted her enough to include her in their confidence

  about shootings in which they personally participated.

        Again, Mykal Derry told Spellman and Spencer, and not

  Brown, about the James shooting for a reason.             As we noted in

  our August bench opinion, Brown’s role in the organization was

  not sufficiently high for her to be privy to such information.

  She was neither an organizer nor a leader.             She was not an

  enforcer and was not expected to use violence to further the

  objectives of the DDTO.      She was not a close associate and not a

  confidant regarding the DDTO’s use of violence and intimidation.

        Brown’s original 302 supports our conclusion that Mykal

  Derry did not confide in her about his shootings.              According to

  the 302, Brown said she “had heard from several individuals that

  Mykal Derry had murdered Tyquinn James, but Brown felt that

  Mykal ‘doesn’t have the heart for it[.]’” (Docket No. 903-3 at

  5.)   It seems unlikely that Brown would think that Mykal Derry

  did not have “the heart for it” if he had told her about his

  past acts of violence.      It does not appear, for example, that




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  Mykal Derry confided in her about shooting “Mizz” and ordering

  “hits.” 35

        Defendant emphasizes how close Brown was to James, knowing

  him since they were “young children.” (Docket No. 914 at 6.)

  Therefore, Defendant says James was not some unknown rival, and

  if he “had been marked for death by the Derry Group [it] would

  have resonated with Ms. Brown.” (Id.)         It is true that Brown

  states in her first 302 that she knew James “from the time they

  were young children.” (Docket No. 903-3 at 5.)            However, if as

  Defendant asserts, Brown’s near-encyclopedic knowledge of the

  DDTO and her special connection to James, meant she would have

  known he “had been marked for death,” we would expect she also

  would have known that Derry enforcers had targeted James in the

  Disston Avenue Apartment shooting.

        We would also assume she would have known James had been

  targeted by Derry associates on New York Avenue.            One would

  search the 302 in vain for disclosure of such knowledge. 36             If

  she did not know the DDTO had targeted James twice before, then

  why would she be expected to know about the third and final

  shooting?     The inference of Brown’s knowledge does not hold up


        35   Young testified to these and other Derry violent acts.

        36
         While the Brown I 302 references Brown being privy to
  discussions about shootings and rivalries in general, nothing in
  the 302 indicates she had any specific knowledge about the
  highly relevant prior James shootings. (Docket No. 903-3 at 7.)

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  in light of the actual level of discourse between Brown and the

  Derrys especially as it relates to James.

        In any case, around the critical time of the James murder,

  Brown was considerably removed from the DDTO for a variety of

  reasons.    Her distance was due in part to the fact that the DDTO

  had packed up their stash of drugs and guns and left her home

  approximately a month or more prior to the James shooting as a

  reaction to the Mack shooting.        In addition, “At the time Mykal

  Derry ceased using Brown’s residence, Brown had already begun

  drug detoxification and no longer needed to acquire drugs from

  Derry and therefore did not need to interact with him.” (Brown

  II 302, Docket No. 903-4 at 1.)        In fact, she was in the

  hospital for about a month around the time of the shooting and

  for some weeks around the time of the arrest of the Derrys.

  (Docket 903-4 at 2.)

        In her post-trial 302, Brown said she did “not really” have

  any conversations with Mykal Derry or Malik after the Mack

  shooting,” except an occasional brief conversation with Malik

  about such things as where he was staying. (Docket 903-4 at 2.)

  She also said “she did not want ‘them’ following her to her new

  residence.” (Id. at 1.)      Thus, fortuitously perhaps, Brown’s

  connection with the DDTO was at best attenuated, or nearly non-

  existent, around the time of the February 10, 2013 James

  shooting.    For that reason as well - lacking the opportunity -


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  it is not likely the Derrys would have confided in her about the

  James shooting.

        In sum, as we previously held, we remain convinced that the

  Brown I 302 was not impeaching, not exculpatory, not favorable,

  and not Brady evidence.

     c. Spence 302

        Spence 37, like Brown and Quershi, also “advised that he knew

  JAMES but did not know why JAMES was killed” according to the

  FBI 302 from the November 2014 interview. (Spence 302, Docket

  No. 911-3 at 5.)       Malik Derry repeats his argument that if the

  shooting of James were in furtherance of the conspiracy, then as

  Spence was in a position to know, he would have known Derry’s

  motive.    The fact that Spence did not know why James was shot,

  according to Malik Derry, is a reason to conclude there was no

  drug conspiracy nexus to the shooting. (Docket No. 911 at 18.)

  Also as before, Spence’s statement is not directly exculpatory

  and only arguably inferential as to the 924(c) element of “in

  furtherance.”




        37
         Laquay Spence pled guilty on March 27, 2014 pursuant to a
  plea agreement to a one count information charging him with
  “knowingly and intentionally conspiring to distribute a
  substance containing a detectable amount of heroin . . . ,” in
  violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(B) and § 846.
  (United States v. Laquay Spence, Crim. No. 14-161 (D.N.J.),
  Docket No. 27.) On July 3, 2014, Spence was sentenced to 40
  months in prison and five years of supervised release. (Id.,
  Docket No. 31.)

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        Defendant accurately characterizes Spence as an independent

  drug dealer and a minor player in the Atlantic City drug trade.

  In a not-illogical twist to his contentions, Malik Derry argues

  that as an independent drug dealer, it was in Spence’s interest

  to be familiar with the interplay of the rival drug groups.

        Here, however, the Defendant’s argument proves too much.

  From Spence’s perspective, it would be dangerous to have the

  Derrys confide in him.      The DDTO engaged in intimidation,

  violent assaults, and shootings.           As Qureshi warned, with

  knowledge came risks.      Moreover, Spence was only tangentially

  involved with the DDTO so our Qureshi and Brown analysis applies

  all the more to him.      Spence was so far removed from the center

  of the Derry orbit, there was no reason for the DDTO to share

  any incriminating information with Spence.             Such a disclosure

  would be all risk and no reward.

        Not only was Spence not a confidant, he was an associate of

  the DDTO only in the sense of being a minor distributor and

  wholesale customer.      Spence admitted he was “not very close” to

  Mykal Derry. (Docket No. 911-3 at 4.)           Spence clearly was not a

  trusted confidant, as he was only a useful tool of the DDTO.

  Even if, as Defendant surmises, he wanted the knowledge of Derry

  shootings, we conclude the Derrys would not have confided in him

  as that would be anathema to their risk mitigation strategy.

  Beyond mere speculation, there is no rational reason why Spence


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  would be expected to know about the James murder.             His 302 is

  not impeaching, not exculpatory, not favorable, and not Brady

  material.

        Thus, we conclude that Defendant’s inference that Qureshi,

  Brown and Spence would have known if the James murder were a

  drug related shooting does not withstand scrutiny and is wholly

  inconsistent with all the other evidence in the case.              Further,

  we reject the strained logic that their lack of knowledge meant

  the James shooting was not a drug conspiracy related shooting.

  Defendant’s argument that these 302s were favorable,

  exculpatory, and provide a basis for impeaching Young’s

  testimony fails. 38

  F. Suppressed

        The second element Defendant must show is that the 302s, or

  the relevant information in them, were suppressed.             The Third

  Circuit has said to prove a Brady violation the evidence “must




        38
         Malik Derry argues the crime cannot be both a “crime of
  opportunity” and “premeditated.” Under the unique facts of this
  case, it was indeed both. The shooting was a crime of
  opportunity in the sense James’s appearance in Derry territory
  was unexpected. It was also premeditated as years before the
  Derry gang put a target on James’s back, as seen by the prior
  two shootings and the testimony of Kareem Young. In addition,
  it was premeditated in the sense that once Malik Derry spotted
  James he formulated a plan of attack and executed it. As we
  described in our August 19, 2016 Opinion, Malik Derry was
  stalking James, armed with a gun from Mykal Derry, and was “dead
  serious” about carrying out his brother’s long-standing and
  open-ended order to murder James on sight.

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  have been suppressed by the State, either willfully or

  inadvertently.”        Dennis, 834 F.3d at 285 (quoting Strickler, 527

  U.S. at 282).    It is plain, and uncontested, that the Qureshi I 39

  and Spence 302s were not disclosed until after trial.

  Accordingly, they were suppressed.           The essence of the Brown I

  302 as it relates to Defendant’s Brady arguments was disclosed

  in the prosecutor’s email summary during trial within the time

  frame in which it could have been used by the Defense.                 We stand

  by our earlier conclusion that it was, therefore, not

  suppressed.

  G. Materiality

        The 302s were not favorable within the meaning of Brady.

  As the undisclosed evidence must be favorable, suppressed and

  material, we could end our analysis there.               However, in the

  interest of completeness and in recognition of the importance of

  the issues at stake to both sides and to the fair administration

  of justice in general, we turn to the issue of materiality. 40


        39
         The nondisclosure of the Qureshi II 302 and the Brown II
  302 are not at issue as they were post-trial interviews.

        40
         The parties address in their briefs and to some extent at
  oral argument whether it is realistic to conclude that Brown,
  Quershi, and Spence would have testified, if called by the
  defense, consistent with their 302s. As the Government asked
  rhetorically, “Where are the affidavits?” There are many
  reasons why all three would have been reluctant to testify and
  would likely have invoked their Fifth Amendment rights not to
  testify. Defendants argue that Qureshi and Brown were high-
  ranking, knowledgeable, and integral members of a high volume,

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    1. Materiality: Individual and Cumulative Analyses

        Here we consider whether in the absence of the 302s the

  Defendant “received a fair trial, understood as a trial




  violent drug gang. Brown and Qureshi’s plea colloquies and plea
  agreements suggest a more modest role and it is unlikely, still
  facing sentencing, that they would have allowed themselves to be
  probed on such matters for fear their testimony would have
  increased their sentencing exposure. Qureshi and Brown, who had
  not been sentenced at the time of trial, could have triggered
  guidelines enhancements or risked losing credit for acceptance
  of responsibility, either in whole or in part, by testifying.
  It seems quite obvious that their experienced attorneys would
  have counseled against it. Spence, the defense alleges, sold
  drugs not only for the Derrys but other gangs as well. It does
  not appear likely that he would have taken the stand and readily
  admit to such uncharged acts absent immunity. However, these
  barriers to testifying do not exclude this information from the
  sphere of Brady material merely because it is unlikely to be
  admitted as evidence at trial. Our Circuit Court has made clear
  that “[a]dmissibility is not a requirement under Brady[.]”
  Dennis, 834 F.3d 263, 309 (3d Cir. 2016). Inadmissible evidence
  could still be Brady material if it leads to admissible evidence
  or if the evidence is impeaching. Johnson, 705 F.3d at 130.
  Moreover, if the disclosure would have allowed the defense to
  “attack the reliability of the investigation,” the evidence
  could be material. Dennis, 834 F.3d at 308 (quoting Kyles, 514
  U.S. at 446). Inadmissible evidence might have been Brady
  material if disclosure “would have empowered the defense counsel
  to pursue strategies and preparations he was otherwise
  unequipped to pursue.” Dennis, 834 F.3d at 308. Accordingly, we
  do not rely on the unlikelihood that Brown, Quershi, and Spence
  would have testified in determining no Brady violation occurred.
  Rather, we determine that whether they testified or not, the
  information in their respective 302s would not have changed the
  result, changed the defense strategy, led to other admissible
  evidence, or otherwise impacted the course of the Derry trial.
  We note that the Defendants have known about the 302s for many
  months and to date have not identified additional witnesses they
  would have called. Nor has the Defense indicated how its
  pretrial strategy would have been different. See id. (“The
  proper inquiry . . . was to consider whether disclosure . . .
  would have impacted the course of trial[.]”).

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  resulting in a verdict worthy of confidence.” Johnson, 705 F.3d

  at 132 (quoting Kyles, 514 U.S. at 434).            Consistent with Third

  Circuit precedent we examine the materiality of each suppressed

  302 individually and then cumulatively. 41           In the view of that

  Court, “[t]his approach may seem laborious, but as the Supreme

  Court has observed, ‘there is no other way.’” Johnson, 705 F.3d

  at 131 (citing Kyles, 514 U.S. at 436 n.10).

     a. Individual Analysis: Qureshi I 302

        As we said previously, the Qureshi I 302 states Qureshi

  “did not know why JAMES had been murdered.”              We conclude that

  had the Qureshi 302 been disclosed, it would have had no impact

  upon the trial because Qureshi’s “did not know” statement is, on

  its face, irrelevant to the 924(c) verdict.              In addition,

  notwithstanding Defendant’s argument, it has no inferential or

  hidden meaning.        It neither helps to prove nor disprove the “in

  furtherance” element of the 924(c) verdict.

        If Qureshi were to testify, the jury would see the flaws in

  Defendant’s inference and importantly place the statement in the

  context of Qureshi’s other statements, common sense, and the

  other evidence in the case.        Assuming she testified consistently




        41
         We note here that it is the jury’s role, not our role, to
  assess the credibility of witnesses or to choose one version of
  a witness’s testimony over another. Rather, our narrow focus is
  whether the version most favorable to the defense would have led
  to a different outcome at trial. See Dennis, 834 F.3d at 302.

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  with her second 302, she would state that Mykal Derry never told

  her about any of his shootings, including the James shooting.

  From this, the jury would conclude that it was ordinary for

  Qureshi not to know about Derry involvement in shootings.               The

  jury would reject Defendant’s Sherlock Holmes inference.

        Next, we assume Qureshi would testify about her “Why, so

  they could kill me?” question.        This would be powerful testimony

  contradicting the heart of Malik Derry’s defense that she would

  have been expected to know.      She neither expected nor hoped to

  know.

        The jury would likely determine the Derrys did not want her

  to know.    The jury would likely conclude that disclosing highly

  inculpatory evidence about shootings only to confidants was

  consistent with the DDTO’s strategic risk management practices.

  They would hear and see from the wiretap evidence that Derry

  told Spellman and Spencer about the shootings.            As we have

  noted, they were Derry confidants; Qureshi was not.

        Even if Qureshi did not testify as we have assumed, we can

  discern no meaningful way the defense could have capitalized on

  or benefited from this disclosure.         They have not described how

  this information would have allowed them to question the

  investigation, identify other witnesses, pursue other

  strategies, or make additional preparations.            Dennis, 834 F.3d

  at 308.    Their sole argument is that it would have assisted in


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  the cross-examination of Young, a use, as we explain elsewhere,

  which would not have changed the result of the trial.

        In short, Defendant’s Sherlock Holmes argument would have

  died a quick death.      There was no hidden meaning in not knowing

  why the shooting took place.          The disclosure of the Qureshi 302

  would not have changed the trajectory of the trial in the

  slightest.    There was no reasonable probability that had the

  evidence been disclosed, the result of the trial would have been

  different. See Turner, 582 U.S. at___, 137 S.Ct. at 1893.                 We

  conclude that the Qureshi I 302 was immaterial under Brady.

     b. Individual Analysis: Brown I 302

        A similar analysis applies to the Brown 302.              Had the Brown

  302 been disclosed, it would have had no impact upon the trial

  because Brown’s “did not know” statement is irrelevant on its

  face to the 924(c) verdict.      It also has no hidden or

  inferential meaning.      It neither helps to prove nor disprove the

  “in furtherance” element of the crime.

        Moreover, the jury would have assessed Brown’s statement

  with the other evidence in the case.           Whether or not Brown

  subjectively feared knowing about the Derry shootings as Qureshi

  plainly did, the jury would have heard six weeks of testimony

  about DDTO illegal activities, threats, intimidation, a brutal

  assault, and shootings.      We believe the jury would conclude no

  reasonable person would want the burden of a Derry confidence


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  about their shootings.      More importantly, the jury would have

  heard the wiretap statements and reviewed the text messages

  establishing that Mykal Derry confided in Spellman and Spencer

  about the James shooting, but did not confide in Brown.

        We believe the jury would conclude that consistent with

  risk management practices, the Derrys determined who were to be

  their confidants and who were not.         The jury would likely

  appreciate the distinction between gossip and knowledge and know

  that Brown did not have knowledge about Derry shootings.

        As with the Qureshi, we can discern no meaningful way the

  defense could have capitalized on or benefited from Brown’s

  statement.    They have not described how her statement would have

  been of use beyond the questioning of Young, a use we conclude

  would have been ineffective at best and at worse potentially

  harmful to their overall defense.

        In sum, the “Brown-would-have-known” argument would have

  fallen of its own weight for the same reasons explained in the

  Qureshi analysis.      There is no reasonable probability that if

  the Brown I 302 had been disclosed, the verdict would have been

  different.    Pursuant to an individual analysis under Brady, the

  Brown I 302 was immaterial.

     c. Individual Analysis: Spence 302

        In a November 2014 interview with the FBI, Spence said he

  did not know why James was killed.         As with the other


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  statements, on its face, the 302 would be irrelevant to the

  924(c) verdict.        The inference Defendant promotes would fail for

  the same reasons described in the Qureshi and Brown analyses

  although more so to Spence, who was at best a tangential member

  of the DDTO.    Given the remoteness of Spence’s connection to the

  DDTO, the Defense would have carried an impossibly heavy burden

  trying to convince the jury that Spence would be expected to

  know the reason James was shot.

        For these reasons, the disclosure of the Spence 302 would

  have no reasonable probability of having an impact upon this

  trial.   Pursuant to an individual Brady analysis, the Spence 302

  was immaterial.

    2. Materiality: Cumulative Analysis

        In Johnson, the Third Circuit held the District Court must

  consider the cumulative effect of all of the evidence that was

  suppressed and favorable to a defendant. 705 F.3d at 129.                 The

  Circuit held, “Even items of evidence that the District Court

  may not consider material on their own must still be considered

  as part of a cumulative materiality analysis.” Id. at 131.

        The Third Circuit observed that the “[c]umulative analysis

  of the force and effect of the undisclosed pieces of favorable

  evidence matters because the sum of the parts almost invariably

  will be greater than any individual part.” Id. (citing Simmons

  v. Beard, 590 F.3d 223, 237 (3d Cir. 2009).              Our Circuit Court


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  said, “The importance of cumulative prejudice cannot be

  overstated, as it stems from the inherent power held by the

  prosecution, which motivated Brady.” Dennis, 834 F.3d at 312

  (citing Kyles, 514 U.S. at 437).

     a. Cumulative Materiality and a Fair Trial

        The test of cumulative materiality is the same for an

  individual assessment; that is, whether in the absence of the

  302s evidence as a whole, Malik Derry received a “fair trial,

  understood as a trial resulting in a verdict worthy of

  confidence.” See Johnson, 705 F.3d at 132 (quoting Kyles, 514

  U.S. at 434).

        Compelling circumstantial evidence at trial established the

  nexus between the James shooting and the charged drug

  conspiracy.    Against this compelling evidence, we consider the

  undisclosed 302s, cumulatively.          Even when viewed cumulatively,

  the undisclosed statements in this case do not rise to a level

  of materiality.        In Turner, the Supreme Court said, “Considering

  the withheld evidence ‘in the context of the entire record,’

  however, we conclude that it is too little, too weak or too

  distant from the main evidentiary points to meet Brady’s

  standards.” Turner, 582 U.S. at ___, 137 S.Ct. at 1894 (quoting

  Agurs, 427 U.S. 97, 112 (1976)).             In the instant case, even if

  we consider the withheld evidence altogether, its collective




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  impact does not even approach being “too little, too weak or too

  distant.”

     b. Impeaching Young

        Malik Derry argues: “The trial would have been vastly

  different if, after Mr. Young testified, Defendant could have

  called a parade of three rebuttal witnesses who, like Mr. Young

  were associated with the conspiracy, but who would have been

  able to challenge the Government’s premise that the James

  shooting was related to the conspiracy, let alone in furtherance

  of the conspiracy.” (Docket No. 911 at 16.)

     i. Materiality: Cumulative and Corroborated Testimony

        Our Circuit has said, “Suppressed evidence that would be

  cumulative of other evidence or would be used to impeach

  testimony of a witness whose account is strongly corroborated is

  generally not considered material for Brady purposes.” Johnson,

  705 F.3d at 129 (citing Rocha v. Thaler, 619 F.3d 387, 396-97

  (5th Cir. 2010)).

        As we have noted, Young testify that he did know precisely

  what triggered the Derry/Allen rivalry.          To the extent

  Qureshi’s, Brown’s, and Spence’s statements are consistent with

  that testimony they are merely cumulative.             Also, to the extent

  Young testified that the DDTO had a “beef” with the Trevin Allen

  gang, and by extension, with Tyquinn James, that testimony is

  strongly corroborated by other evidence and is therefore


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  generally not material.      One example of this corroboration is

  the testimony of Detective Cornelius Kane of the Atlantic City

  Police Department as to the shooting at the Disston Avenue

  Apartments.

        As we briefly discussed above, Young testified he was in

  Brown’s Park with Jermaine “Bam” Reynolds and Spencer when James

  and Kevin Green rode by on a bicycle.         (Direct Examination of

  Kareem Young, Trial Tr. 4095-96, July 30, 2015, Docket No. 787.)

  At trial, Young said Reynolds looked up and said he could not

  believe “these n*ggas just rode by us.” (Id. at 4096.)              Spencer

  bicycled after and followed them into the Disston Apartments.

  (Id. at 4097.)     Young testified that Spencer intended to shoot

  James, but accidentally shot Green in the face. (Id. at 4100.)

  Young testified that he knew of no reason for the shooting other

  than they were drug rivals, no longer allowed in Stanley Holmes

  Village and no longer permitted to sell drugs in the area. (Id.

  at 4101.)    Young said James was previously targeted at the home

  of Trevin Allen’s mother by Jermaine Reynolds and Mykal Derry’s

  other brother, “Boo.” (Id. at 4101-02.)

        Young’s testimony was corroborated by Detective Kane’s on

  many points.    For example, Detective Kane described a photograph

  taken at the scene: “The individual on the right is Kevin Green,

  and he was shot in the face, and you can see where he's holding

  his face, but in his right hand he's got a black semiautomatic


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  handgun.” (Direct Examination of Detective Cornelius Kane, Trial

  Tr. 3173, July 27, 2015, Docket No. 782.)              Detective Kane also

  said,

        We had found out that the target in my shooting,
        [shooting of Green by Spencer] which was Tyquinn
        James, had actually been shot at multiple times
        previously. And we actually had casings from the
        Disston Apartments shooting. The 9-millimeter casing
        that we recovered in the hallway actually matched the
        9-millimeter casings from the New York Avenue shooting
        where Tyquinn was shot at before.

  (Cross-examination of Detective Cornelius Kane, Trial Tr. 3188-

  89, July 27, 2015, Docket No. 782.)

        Kane’s testimony corroborates Young’s testimony in these

  important ways: (1) in the fall of 2011, Green was shot at the

  Disston Avenue Apartments; (2) he was hit in the face; (3) the

  intended target was James; (4) Shaamel Spencer was the likely

  shooter; and (5) ballistic tests showed persons used this same

  gun to shoot at James at least twice.         The account of the

  shooting was further corroborated by surveillance video from the

  Disston Avenue Apartments. (Id. at 3165-67.)              Young’s testimony

  was also corroborated throughout the trial including by the

  testimony of DEA Special Agent David McNamara about street level

  drug operations. (Testimony of DEA Special Agent David McNamara,

  Trial Tr. 4269-396, August 3, 2015, Docket No. 796, and Trial

  Tr. 4405-24, August 4, 2015, Docket No. 797.)




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        Therefore, we conclude that the 302s, taken together, are

  not material because, (1) they are cumulative of Young’s

  testimony and (2) Young’s testimony was strongly corroborated.

       ii. Materiality: Relative Value

        The Supreme Court instructs: “We must examine the trial

  record, evaluat[e] the withheld evidence in the context of the

  entire record, and determine in light of that examination

  whether there is a reasonable probability that, had the evidence

  been disclosed, the result of the proceeding would have been

  different.” Turner, 582 U.S. at___, 137 S.Ct. at 1893 (internal

  quotation marks and citation omitted).            The materiality analysis

  requires the Court to consider the alleged Constitutional error

  in light of all the evidence to determine whether it “put[s] the

  whole case in such a different light as to undermine confidence

  in the verdict.” Kyles, 514 U.S. at 435.            Our Circuit echoed the

  Supreme Court when it said, “The materiality of Brady material

  depends almost entirely on the value of evidence relative to the

  other evidence mustered by the state.” Johnson, 705 F.3d at 129

  (quoting Rocha, 619 F.3d at 396).

        Young testified that upon rejoining the Derry Organization

  after a stint in jail he was informed the Derrys were estranged

  from the Allen organization.          He learned the Allen group was

  banned from Stanley Holmes Village and he quoted Mykal Derry

  that any member of Allen’s organization should be shot on sight.


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  According to Young, Mykal Derry said, “If we see him [James], we

  got to put him down [kill him].” (Direct Examination of Kareem

  Young, Trial Tr. 4073-74, July 30, 2015, Docket No. 787.)

        Young further testified that the DDTO and the rival drug

  organizations, such as the Back Maryland group and the Trevin

  Allen group, would shoot at each other or beat each other up if

  they breached the other’s territory.         Shootings and assaults

  occurred to protect drugs and themselves, to enforce their

  territorial claims, to seek revenge for being shot at, and to

  intimidate and kill each other, all under the umbrella of making

  money and selling drugs.

        While Young’s testimony added color to the other evidence

  at trial and provided the back-story as to some of the drug

  rivalries, it was but one piece of a mosaic of evidence in this

  trial.   Malik Derry’s 924(c) conviction is supported by wiretap

  evidence, ballistic evidence, video surveillance and physical

  evidence.    Upon consideration of the entire trial record, we are

  confident that any impeachment value of the suppressed 302s

  would not have affected the 924(c) verdict as to Malik Derry.

        Just as the Supreme Court held in Turner, we conclude in

  this case, that the additional impeachment of Young, if it could

  be called that, would not have undermined confidence in the

  verdict against Malik Derry on Count Ten. See Turner, 582 U.S.

  at___, 137 S.Ct. at 1895 (“We of course do not suggest that


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  impeachment evidence is immaterial with respect to a witness who

  has already been impeached with other evidence.            We conclude

  only in the context of this trial, with respect to these

  witnesses, the cumulative effect of the withheld evidence is

  insufficient to undermine confidence in the jury’s verdict[.]”)

  (quoting Smith v. Cain, 565 U.S. 73, 75-76 (2012))(internal

  citation and quotation marks omitted); see also Dennis, 834 F.3d

  at 304 (contrasting Dennis which relied primarily on impeachable

  eyewitness testimony for guilt with Strickler in which

  “extensive and varied” evidence strongly supported conviction).

     c. Mykal Derry and the Operations of the DDTO

        Young’s testimony, while important, just scratches the

  surface of all the other evidence of the DDTO’s possession and

  use of firearms under the direction of Mykal Derry.             There is of

  course the James murder itself.        A .380 caliber Beretta

  semiautomatic handgun, confirmed through ballistic testing as

  the murder weapon in the shooting of James, was located not long

  after the homicide in a drop ceiling of Spellman’s home at 727

  Green Street, a home shared by Mykal Derry.

        The evidence establishes that Mykal supplied the weapon to

  Malik: (1) on February 10, 2013, Malik asked his brother Mykal

  for a gun as he had spotted James, a drug rival not far from

  Stanley Holmes; (2) soon thereafter, the gun made its way to

  Malik; (3) Malik executed James; (4) Mykal discussed with


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  confidants Malik’s shooting of James; and (5) the police

  recovered the confirmed murder weapon as described above.

        Mykal Derry was more than an associate of the violent DDTO.

  He was at the helm.       According to Young, Mykal was the leader of

  the gang:

        Everybody on the street know who's the leader of Crime
        Fam. Before I met Mykal Derry, Tay-moo, Griffin,
        Grouch and them was the leader. That's who we was
        looking up to. But once they even got locked up,
        Mykal Derry came home, he was the oldest of that, so
        we looked up to him and he took over. He was the
        leader of the Crime Fam. So that's who we looked at
        and we took orders from and we did things for, and we
        shot people for. That's what we did, we sold drugs
        for.

  (Cross-examination of Kareem Young, Trial Tr. 4253, Aug. 3,

  2015, Docket No. 796.)

        Moreover, under Mykal Derry’s command, weapons and violence

  were woven into the cloth of the DDTO.           The DDTO had a defined

  territory - no drug rivals were permitted to sell heroin or

  other drugs nor even enter Derry territory, under penalty of

  robbery, assault or death.       For example, if rivals sold heroin

  in Brown’s Park, a public park claimed by the DDTO, according to

  Young “they would be robbed, beat up, or shot.” (Direct

  Examination of Kareem Young, Trial Tr. 3951, July 30, 2015,

  Docket No. 787.)       The DDTO used the firearms to intimidate other

  drug dealers, to control their territory, to seek revenge and

  for protection of themselves and their drugs.



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        Mykal Derry had armed lookouts standing guard outside trap

  houses.   He employed enforcers, ready to shoot at rivals who

  entered Derry territory.      He and his enforcers honed their

  skills at a shooting range.      Under Derry’s direction, guns were

  possessed and used collectively, in furtherance of the drug

  conspiracy.    He decided who would be “strapped,” when guns were

  to be used (to kill the enemy) and when guns were not to be used

  (to kill residents of Stanley Holmes Village).

        He controlled stash houses where guns were stored.             When

  guns were needed or wanted, they were available to associates.

  At trial, the Government introduced into evidence two dozen

  firearms confiscated from various members of the DDTO during the

  conspiracy between October of 2010 and March of 2013.

        Mykal Derry’s domination of the Derry Organization is seen

  in his October 23, 2012 call with Reynolds as to what he would

  do if his brother Malik violated the rules and used a gun on

  someone in the village: “I’m f*ckin’ him up, man its like that.”

  (Gov. Exhibit 478) (See Direct Examination of Special Agent

  Christopher Kopp, Trial Tr. 1299, July 9, 2015, Docket No. 753

  (discussing the Exhibit).)      His command and control, often

  involving guns, violence, or intimidation was evidenced by his

  call to arms following the Tropicana brawl with drug trafficking

  rivals, directing enforcers Kamal Allen, Kasan Hayes and Shaamel

  Spencer to retrieve and carry guns.


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        Mykal Derry’s use of intimidation is further seen in a not

  so thinly veiled threat to Young, warning him not to testify.

  Young recounted at trial Mykal Derry’s ominous warning that if

  Young cooperated and testified, Zay-moo, Tay-moo, Grouch, and

  Griffin, the former leaders of the drug gang, would be home when

  Young was finally released from prison:          “He was telling me that

  whoever cooperate, they got to get on the stand, 'cause he going

  to trial, and they gonna have to go home eventually, and Zay-

  moo, Grouch, Griffin and Tay-moo and them are going to be home.”

  (Direct Testimony of Kareem Young, Trial Tr. 4246-47, Aug. 3,

  2015, Docket No. 796.)      Mykal’s warning was particularly

  alarming in light of the shooting and paralysis of Rosario for

  Rosario having given a statement against Mykal to the police.

        As we have noted previously, the evidence also shows that

  the shooting of James in February of 2013 was just one of eight

  shootings attributed to the DDTO during the short time they were

  under investigation. 42    Not only did Mykal Derry reportedly put


        42
         The drug related shootings were often retribution for a
  prior drug related shooting, other violence, or threats to the
  Mykal Derry-led DDTO. One example, according to Young, was the
  killing of Derry associate Nazir Allen who owed money to rival
  drug dealer Yachor Napper’s supplier. Young said he believed
  Napper (on orders from his drug supplier) and Napper’s cousin
  “Pretty” committed the murder. Nazir’s brother Kamal Allen,
  then set out to avenge his younger brother’s death. Sometime
  after that, a fight ensued at the Tropicana Casino between DDTO
  members Kareem Young, Terry Davis, Mykal Derry, Spencer and
  members of the Napper group. DDTO associates were instructed to
  obtain weapons and shoot Napper and Pretty on sight. (Direct

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  out a “hit” on a number of individuals, but Young testified

  Mykal said he personally shot “Mizz.” (Direct Examination of

  Kareem Young, Trial Tr. 4060, July 30, 2015, Docket No. 787.) 43

        Our Brady analysis and conclusions as to Malik Derry,

  including the favorability analysis and the materiality

  analysis, apply therefore equally to Mykal Derry.             As we

  explained above, the 302s were neither favorable nor material

  evidence under Brady.      In sum, we conclude that the undisclosed

  statements, if made available in time for trial, could not and




  Examination of Kareem Young, Trial Tr. 3952-61, 4084, July 30,
  2015, Docket No. 787.) Mykal’s wiretapped phone call
  corroborates Young’s testimony.
       As we have discussed in more detail supra, other examples
  include: (1) the shooting of Anthony “Ant 50” Rosario because
  Rosario stopped buying heroin from Mykal Derry and testified
  against him, id. at 4045-46.); (2) the attempted killing of
  Mykal Derry by Sedrick Lindo and the resulting effort by the
  DDTO to kill Lindo, James, and other members of the Allen gang;
  and (3) Young’s testimony that Mykal Derry and Spencer rode
  bikes past his house, he heard gun shots, after which Young was
  informed that Spencer had shot Lindo on New York Avenue. (Id. at
  4064-69.)
       At trial, Mykal candidly described his desire to murder
  James and Lindo, as revenge for being shot at by Lindo. (Cross-
  examination of Mykal Derry, Trial Tr. 5553, Aug. 11, 2015,
  Docket No. 816.) In a recorded jail call Mykal said he was
  going “to get” [kill] both Lindo and James. James was
  reportedly with Lindo at the time of the attempt on Mykal. (Id.)

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         Young testified Mykal told him that he had dressed up
  like a Muslim woman and shot a person named Mizz because the
  younger brother of a Trevin Allen associate, Shaheed Hamilton
  (“Heed Horn”) had shot at “Buck”, a DDTO enforcer. Mizz was a
  Hamilton cousin. (Direct Examination of Kareem Young, Trial Tr.
  4055-62, July 30, 2015, Docket No. 787.)



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  would not have been used in any way that undermines our

  confidence in the verdict against Mykal Derry on Count Ten. 44

  Therefore, this Court concludes that the failure of the United




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         In addition to direct culpability, the Government also
  asserted both aiding and abetting and Pinkerton liability, see
  Pinkerton v. United States, 328 U.S. 640 (1946), against both
  Malik and Mykal Derry for Count Ten. After having found both
  defendants guilty of the base offense under 18 U.S.C. § 924(c),
  the jury was instructed by the Verdict Sheet to skip the aiding
  and abetting interrogatories so that theory is not relevant
  here. (Verdict Sheet, Docket No. 827.) As for Pinkerton, we do
  not consider the assertion of that theory of liability to the
  jury to be relevant to our Brady inquiry for several reasons.
  First, the “in furtherance of” element must be proven by the
  Government regardless of whether it proves a defendant acted
  directly or is liable under Pinkerton for a co-conspirator’s
  act. Second, we are confident the jury did not apply Pinkerton
  to Malik on Count Ten. As we note supra, pp. 25-28, the jury
  acquitted Malik of brandishing but convicted Mykal of the same
  conduct. The James killing did not involve brandishing. If the
  jury had applied Pinkerton, the jury could have convicted Malik
  for Mykal’s others acts of brandishing (or other co-
  conspirator’s acts of brandishing) but did not do so. Thus, it
  appears the jury based its finding on Count Ten as to Malik for
  his direct and personal role in the James killing and nothing
  else. This is consistent with the practical fact that so much
  of the Government’s proofs with regard to Malik Derry on Count
  Ten focused on the killing of James. Lastly, although the
  Government does not make this argument, Pinkerton theory does
  not bar Mykal’s joinder in his brother’s motion. To be sure,
  the time period of Count Ten mirrors the time period of the
  conspiracy and many of the co-conspirators are named in Count
  Ten. However, we cannot say with any confidence what conduct
  the jury considered in convicting Mykal of brandishing. While
  it could not be the Red Klotz event, it could have been the
  Disston Apartments or New York Avenue attempts to kill James.
  Or it could have been any of the other acts of gun violence
  separate from the attacks on James. The earlier James shootings
  could implicate Defendant’s Brady motion but none of the other
  events do. Accordingly, because the jury could have considered
  the earlier targeting of James in convicting Mykal of
  brandishing, we approve his joinder motion.

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  States to disclose the 302s was no more a Brady violation with

  respect to the § 924(c) verdict for Mykal Derry than it was for

  his brother Malik.

                                        VIII.

                                  CONCLUSION

        To the extent the 302s were suppressed, the failure of the

  Government to disclose the Brown, Qureshi, and Spence 302s was

  not a Brady violation.      We are confident that under an

  individual analysis and a cumulative one, as it relates to both

  Mykal and Malik Derry, there is no reasonable probability that

  had the 302s been disclosed, the result of the proceedings would

  have been different.      Malik and Mykal Derry each received a fair

  trial resulting in verdicts on the § 924(c) Counts worthy of

  confidence.    Therefore, Malik Derry’s and Mykal Derry’s motion

  for an indicative ruling will be denied and an appropriate Order

  will be entered.



  Date: September 15, 2017                        s/ Noel L. Hillman
  At Camden, New Jersey                         NOEL L. HILLMAN, U.S.D.J.




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